                             UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                  HARRISBURG DIVISION

    In re:                                                 Chapter 11

    ROMAN CATHOLIC DIOCESE OF                              Case No. 1:20-bk-00599 (HWV)
    HARRISBURG,

                           Debtor.1


                        DEBTOR’S APPLICATION FOR ENTRY OF AN
                ORDER APPROVING THE EMPLOYMENT AND RETENTION OF
                  KLEINBARD, LLC AS SPECIAL COUNSEL FOR THE DEBTOR
              AND DEBTOR IN POSSESSION EFFECTIVE AS OF THE PETITION DATE

             The Roman Catholic Diocese of Harrisburg, the debtor and debtor in possession (the

“Debtor”), by and through its undersigned proposed counsel, files this application for entry of an

order, substantially in the form attached to this application as Exhibit A, authorizing the Debtor

to retain and employ Kleinbard, LLC (“Kleinbard”) as special counsel effective as of the Petition

Date (as defined below). In support of this application, the Debtor submits the declaration of

Matthew H. Haverstick, a managing partner of Kleinbard (the “Haverstick Declaration”), which

is attached to this application as Exhibit B, and the declaration of Very Reverend David L.

Danneker, Ph.D., Vicar General of the Debtor (the “Danneker Declaration”), which is attached

to this application as Exhibit C. In further support of this application, the Debtor respectfully states

as follows:

                                         JURISDICTION AND VENUE

             1.    The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for



1
 The last four digits of the Debtor’s federal tax identification number are: 4791. The Debtor’s principal place of
business is located at 4800 Union Deposit Road, Harrisburg, Pennsylvania 17111.




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the Middle District of Pennsylvania. This is a core proceeding pursuant to 28 U.S.C. § 157(b),

and the Debtor consents to the entry of a final judgment or order with respect to the Motion if it

is determined that the Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution.

         2.        Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                              BACKGROUND

         3.        On February 19, 2020 (the “Petition Date”), the Debtor filed a voluntary petition

for relief in this Court, pursuant to chapter 11 of the Bankruptcy Code, commencing this case (the

“Chapter 11 Case”).

         4.        The Debtor continues to operate its business as a debtor in possession, pursuant to

sections 1107(a) and 1008 of the Bankruptcy Code.

         5.        No request for the appointment of a trustee or examiner has been made in this

Chapter 11 Case, nor have any committees been appointed or designated.

         6.        A description of the Debtor’s business, the reasons for commencing this Chapter

11 Case, the relief sought from this Court, and the facts and circumstances supporting this motion

are set forth in the Informational Brie of the Roman Catholic Diocese of Harrisburg (the

“Informational Brief”) and the Declaration of Christopher G. Linscott in Support of First Day

Motions (the “Linscott Declaration” and, with the Informational Brief, collectively, the “First

Day Informational Pleadings”).

                                           RELIEF REQUESTED

         7.        By this application, the Debtor seeks entry of an order authorizing the retention and

employment of Kleinbard as its attorneys, in accordance with the terms and conditions set forth in

that certain engagement letter between the Debtor and Kleinbard, effective as of February 1, 2020

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(the “Engagement Letter”), a copy of which is attached as Exhibit 1-B to the Haverstick

Declaration.

                                           BASIS FOR RELIEF

         8.        The bases for the relief requested in this application are sections 327(a) and 330 of

title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014(a) and 2016 of the

Bankruptcy Rules, and Local Rules 2014-1 and 2016-1 of the Local Bankruptcy Rules (the “Local

Rules”) for the United States Bankruptcy Court for the Middle District of Pennsylvania.

                                    KLEINBARD’S QUALIFICATIONS

         9.        Kleinbard is well qualified to represent the Debtor in this Chapter 11 Case.

Kleinbard is a Philadelphia-based firm with approximately 35 attorneys in its Philadelphia and

Harrisburg offices.

         10.       The employment of Kleinbard as an additional professional in this case is necessary

because of Kleinbard’s specialized experience in similar diocesan matters. The Debtor selected

Kleinbard as special counsel due to their reputation for providing excellent legal representation to

similar entities addressing such matters as criminal investigations, child sexual abuse litigation,

complex litigation matters, and corporate structuring.

         11.       Further, the employment of Kleinbard as special counsel will not result in

duplication of efforts by the Debtor’s other retained professionals, including those provided by

Waller Lansden Dortch & Davis LLP (“Waller”).

         12.       Kleinbard’s professionals have worked closely with the Debtor’s management and

other professionals with regard to these matters and has become well-acquainted with the Debtor’s

corporate history, structure, business operations, and the background that has lead the Debtor to

file this Chapter 11 Case.

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         13.       As a result, Kleinbard has developed relevant experience and expertise regarding

the Debtor that will assist Kleinbard in providing effective and efficient services in this Chapter

11 Case.

                                      SERVICES TO BE PROVIDED

         14.       Subject to further order of this Court, and consistent with the Engagement Letter,

the Debtor requests the retention and employment of Kleinbard to render the following legal

services:

                a.        advice and support in connection with the Debtor’s chapter 11 bankruptcy
         proceeding;

                b.      advice and support in connection with any ongoing or newly arising
         criminal or regulatory investigations;

                  c.      advice and support for seeking insurance coverage, including through
         litigation in the course of the Debtor’s chapter 11 bankruptcy proceeding;

                   d.     advice and support for various internal investigations; and

                e.     advice and support in connection with claims and litigation arising from
         childhood sexual abuse.

                                    PROFESSIONAL COMPENSATION

         15.       Kleinbard intends to apply for compensation for professional services rendered on

an hourly basis and reimbursement of expenses incurred in connection with this Chapter 11 Case,

subject to this Court’s approval and in compliance with applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, and Local Rules, and any other applicable procedures and orders of

the Court.

         16.       The hourly rates and corresponding rate structure Kleinbard will use in this Chapter

11 Case are the same as the hourly rates and corresponding rate structure that Kleinbard uses in

other restructuring matters, as well as similar complex corporate, securities, and litigation matters,

whether in court or otherwise, regardless of whether a fee application is required.
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         17.       These rates and the rate structure reflect that such restructuring and other complex

matters typically are national in scope and involve great complexity, high stakes, and severe time

pressures.

         18.       Kleinbard operates in a national marketplace for legal services in which rates are

driven by multiple factors relating to the individual lawyer, his or her area of specialization, the

firm’s expertise, performance, and reputation, the nature of the work involved, and other factors.

         19.       Kleinbard’s currently hourly rates for the 2020 calendar year (the “Current Hourly

Rates”) for matters related to the Debtor’s restructuring and this Chapter 11 Case are as follows:

                           Professional Level           Hourly Rate Range
                           Partner                          $400–$425
                           Counsel                             $400
                           Associate                           $295
                           Paralegal                           $195

         20.       Kleinbard’s hourly rates are set at a level designed to compensate Kleinbard fairly

for the work of its professionals and paraprofessionals and to cover fixed and routine expenses.

The hourly rates charged by Kleinbard vary with experience and seniority of the individuals

providing services. The hourly rates are subject to periodic adjustments, to reflect economic and

other conditions.

         21.       These hourly rates are consistent with the rates that Kleinbard charges other non-

bankruptcy and chapter 11 clients, regardless of the location.

         22.       The rate structure provided by Kleinbard is appropriate and not significantly

different from (a) the rates Kleinbard charges for other similar types of representations or (b) the

rates that other comparable counsel would charge to do work similar to the work Kleinbard

proposed to perform in this Chapter 11 Case.



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         23.       In addition, Kleinbard maintains a policy of charging its clients in all areas of

practice for identifiable, non-overhead expenses incurred in connection with the client’s case that

would not have been incurred except for the representation of that particular client.

         24.       Kleinbard only charges its clients the amount actually incurred by Kleinbard in

connection with such items.

         25.       In the ordinary course of Kleinbard’s representation of the Debtor, Kleinbard

engaged certain third-party vendors to provide services such as hosting electronic records.

Kleinbard has made every attempt to assure all prepetition amounts due and owing to third-party

vendors has been billed and paid; however, out of an abundance of caution, Kleinbard seeks

authority to have any remaining amounts owed to such third-party vendors billed and paid

postpetition, in the ordinary course.

         26.       Examples of items Kleinbard charges to clients include, but are not limited to,

postage (including overnight mail), transportation, overtime expenses, computer assisted legal

research, photocopies, and travel expenses (e.g., airfare, meals, and lodging).

                    COMPENSATION RECEIVED BY KLEINBARD FROM THE DEBTOR

         27.       On September 20, 2019, the Debtor paid $60,000 to Kleinbard as an advance

payment retainer consistent with the Pennsylvania Rules of Professional Conduct2.

         28.       Per the terms of the Engagement Letter, Kleinbard has maintained the $60,000 (the

“Retainer Balance”) as an advance payment retainer consistent with the Pennsylvania Rules of

Professional Conduct.




2
 In order to make payments to third parties, the Debtor funds, or causes to be funded, payments to Harrisburg Catholic
Administrative Services, Inc. (“HCAS”). As part of its administrative responsibilities pursuant to certain services
agreements, HCAS, in turn, makes payments to such third parties on the Debtor’s behalf using such funds.
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         29.       A chart identifying the statements setting forth the professional services provided

by Kleinbard to the Debtor and the expenses incurred by Kleinbard in connection with such

services, as well as the advance payment retainer transferred by the Debtor to Kleinbard, prior to

the Petition Date is set forth in the Haverstick Declaration.

         30.       Pursuant to Rule 2016(b), Kleinbard has neither shared nor agreed to share (a) any

compensation it has received or may receive with another party or person, other than with the

partners, associates, and contract attorneys associated with Kleinbard or (b) any compensation

another person or party has received or may receive.

         31.       As of the Petition Date, the Debtor did not owe Kleinbard any amounts for legal

services rendered before the Petition Date.

         32.       Although certain expenses and fees may have been incurred but not yet applied to

Kleinbard’s advance payment retainer, the amount of Kleinbard’s advance payment retainer

always exceeded any amounts listed or to be listed on statements describing services rendered and

expenses incurred (on a “rates times hours” and “dates of expenses incurred” basis) prior to the

Petition Date.

         33.       Consistent with past practice, Kleinbard will charge no more than $0.20 per page

for standard duplication services in this Chapter 11 Case, and Kleinbard does not charge its clients

for incoming facsimile transmissions.

         34.       Throughout    this   Chapter   11 Case,      Kleinbard   will   maintain   detailed,

contemporaneous records of time spent, as well as any actual and necessary expenses incurred, in

connection with the rendering of the legal services described above by category and nature of the

services rendered.



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         35.       Notwithstanding the foregoing, Kleinbard acknowledges its compensation will be

subject to approval by this Court.

         36.       As set forth in the Haverstick Declaration, Kleinbard intends to apply to this Court

for payment of compensation and reimbursement of expenses, in accordance with the procedures

set forth in the applicable provisions of section 330 and section 331 of the Bankruptcy Code, the

Bankruptcy Rules, and the Local rules, as those procedures may be modified or supplemented by

order of this Court.

         37.       Kleinbard has agreed not to share with any person or firm the compensation to be

paid for professional services rendered in connection with this Chapter 11 Case, other than as

permitted pursuant to section 504 of the Bankruptcy Code.

         38.       Kleinbard also intends to make a reasonable effort to comply with the U.S.

Trustee’s request for information and additional disclosures as set forth in the U.S. Trustee Fee

Guidelines, both in connection with this application and the interim and final fee applications to

be filed by Kleinbard in this Chapter 11 Case.

         39.       The Debtor will be approving a prospective budget and staffing plan for

Kleinbard’s engagement for the postpetition period as appropriate.

         40.       In accordance with the U.S. Trustee Fee Guidelines, the budget may be amended,

as necessary to reflect changed or unanticipated developments.

         41.       The Debtor has also approved the Kleinbard attorneys staffed on this engagement,

subject to modification depending upon further case developments.

         42.       As set forth in the Danneker Declaration, the Debtor recognizes that it is the

Debtor’s responsibility to review the billing practices of its counsel, to ensure that the fees and



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expenses remain consistent with the Debtor’s expectations and the exigencies of this Chapter 11

Case.

         43.       The Debtor will review the invoices of its professionals, including the invoices of

Kleinbard.

         44.       By separate application, the Debtor is seeking Court approval of the retention and

employment of Waller as primary counsel and Keegan, Linscott & Associates, PC as financial

advisors. The Debtor has also previously sought approval of Epiq Corporate Restructuring, LLC

as the Debtor’s claims, noticing, and balloting agent. The Debtor may also file motions or

applications to employ additional professionals. Each of the Debtor’s Professionals works and will

continue to work under the direction of the Debtor’s management.

         45.       The Debtor’s directors and senior management are committed to minimizing

duplication of services to reduce professional costs, among other things. To that end, Kleinbard

will work closely with each of the Debtor’s Professionals to ensure that there is no unnecessary

duplication of effort or cost.

                                  KLEINBARD’S DISINTERESTEDNESS

         46.       To the best of the Debtor’s knowledge and as disclosed in this application and the

Haverstick Declaration, (a) Kleinbard is a “disinterested person” within the meaning of section

101(14) of the Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code, and does

not hold or represent an interest adverse to the Debtor’s estate and (b) Kleinbard has no connection

to the Debtor, its creditors, or other parties in interest, except as may be disclosed in the Haverstick

Declaration.

         47.       Kleinbard will review its files periodically during the pendency of this Chapter 11

Case, to ensure that no conflicts or other disqualifying circumstances exist or arise.

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         48.       If any new relevant facts or relationships are discovered or arise, Kleinbard will use

reasonable efforts to identify such further developments and will promptly file a supplemental

declaration, as required by Rules 2014(a) of the Bankruptcy Rules.

                                     BASIS FOR RELIEF REQUESTED

         49.       Section 327(a) of the Bankruptcy Code provides that a debtor in possession may,

with the court’s approval, employ professionals that do not hold or represent an interest adverse to

the estate and that are “disinterested persons,” as defined by section 101(14) of the Bankruptcy

Code, to represent or assist the debtor in possession in carrying out its duties under the Bankruptcy

Code. See 11 U.S.C. § 101(14). Additionally, section 1107(b) of the Bankruptcy Code provides

that a professional is not disqualified for employment by a chapter 11 debtor in possession under

section 327(a) of the Bankruptcy Code solely because of its employment by or representation of

the debtor before the commencement of the case. See 11 U.S.C. § 1107(b).

         50.       Kleinbard will utilize its extensive experience in defending diocesan entities—both

in and out of the bankruptcy context—to ensure the Debtor is properly represented in any criminal

or regulatory investigations, in seeking insurance coverage, in its various internal investigations,

and in connect with all other claims or litigation arising from childhood sexual abuse. Based upon

both its extensive experience and expertise, and its prior representation of the Debtor, Kleinbard

is both well-qualified and uniquely able to represent the Debtor during the Chapter 11 Case in an

efficient, cost-effective, and timely manner. As stated above, the Debtor does not believe that

Kleinbard holds or represents any interest adverse to the Debtor’s estate, and they believe that

Kleinbard is a “disinterested person” under the Bankruptcy Code. Accordingly, the Debtor submits

that the retention of Kleinbard is in the best interests of the Debtor, their estate, and their creditors

and should be approved by the Court.

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                                       RESERVATION OF RIGHTS

         51.       Nothing contained in this application is intended or should be construed as an

admission as to the validity of any claim against the Debtor, a waiver of the Debtor’s rights to

dispute any claim, or an approval or assumption of any agreement, contract, or lease under section

365 of the Bankruptcy Code.

         52.       Similarly, if this Court grants the relief sought in this application, any payment

made pursuant to the Court’s order is not intended and should not be construed as an admission as

to the validity of any claim or a waiver of the Debtor’s rights to dispute such claim subsequently.

                                                 NOTICE

         53.       The Debtor has provided notice of this application by electronic mail, facsimile, or

overnight mail to: (a) the Office of the United States Trustee for the Middle District of

Pennsylvania; (b) the Debtor’s twenty (20) largest unsecured creditors; (c) the Debtor’s secured

creditors; and (d) all parties entitled to notice pursuant to Rule 2002 of the Bankruptcy Rules.

         54.       Given the nature of the relief requested in this motion, the Debtor submits that no

other or further notice is necessary or required.

                                          NO PRIOR REQUEST

         55.       The Debtor has not made a prior request to this Court or any other court for the

relief sought in this motion.

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         WHEREFORE, the Debtor respectfully requests that the Court grant the relief requested

herein and such other and further relief as the Court may deem just and proper.

Dated: February 24, 2020

                                             Respectfully submitted,


                                             /s/ David L. Danneker
                                             Very Reverend David L. Danneker, Ph.D.
                                             Vicar General and Moderator of the Curia

WALLER LANSDEN DORTCH & DAVIS, LLP

Blake D. Roth (State Bar No. 306951)
Tyler N. Layne (admitted pro hac vice)
511 Union Street, Suite 2700
Nashville, TN 37219
Telephone:    (615) 244-6380
Facsimile:    (615) 244-6804
Email:        blake.roth@wallerlaw.com
              tyler.layne@wallerlaw.com

-and-

KLEINBARD, LLC

Matthew H. Haverstick (State Bar No. 85072)
Joshua J. Voss (State Bar No. 306853)
Three Logan Square
1717 Arch Street, 5th Floor
Philadelphia, Pennsylvania 19103
Telephone:     (215) 568-2000
Facsimile:     (215) 568-0140
Email:         mhaverstick@kleinbard.com
               jvoss@kleinbard.com

Proposed Attorneys for the Debtor and Debtor In Possession




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                                   Exhibit A

                                Proposed Order




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                               UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                    HARRISBURG DIVISION

In re:                                                    Chapter 11

ROMAN CATHOLIC DIOCESE OF                                 Case No. 1:20-bk-00599 (HWV)
HARRISBURG,

                            Debtor.1


              ORDER APPROVING THE EMPLOYMENT AND RETENTION OF
             KLEINBARD, LLC AS SPECIAL COUNSEL FOR THE DEBTOR
         AND DEBTOR IN POSSESSION EFFECTIVE AS OF THE PETITION DATE

         Upon consideration the application (the “Application”)2 filed by the above-captioned

Debtor; and the Court having found that it has jurisdiction to consider the Application and the

relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and upon consideration of the

Haverstick Declaration and Danneker Declaration in support thereof; and the Court having found

that consideration of the Application and the relief requested therein is a core proceeding

pursuant to 28 U.S.C. § 157(b); and the Court having found that venue of this proceeding in this

District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that notice of the

Application as set forth therein is sufficient under the circumstances; and the Court having

reviewed the Application and having considered statements in support of the Application at the

hearing held before this Court (the “Hearing”); and the Court having determined that the legal

and factual bases set forth in the Application and at the Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before the Court; and after due deliberation

and sufficient cause appearing therefor,


1
  The last four digits of the Debtor’s federal tax identification number are: 4791. The Debtor’s principal place of
business is located at 4800 Union Deposit Road, Harrisburg, Pennsylvania 17111.
2
  Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the
Application.


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         IT IS THEREFORE ORDERED:

         1.        Pursuant to section 327(a) of the Bankruptcy Code and Local Rule 2014(c), the

Debtor shall be, and hereby is, authorized to employ Kleinbard effective as of the Petition Date,

in accordance with the terms and conditions set forth in the Application and in the Engagement

Letter, as modified herein, as special counsel to render legal services to the Debtor as needed

throughout the course of this Chapter 11 Case, including all professional services as outlined in

the Application and Engagement Letter, and Kleinbard is hereby authorized to perform any and

all such necessary and appropriate professional services for the Debtor in this case.

         2.        Kleinbard shall charge the Debtor’s estate for its legal services in accordance with

its ordinary and customary hourly rates in effect on the date services are rendered, and Kleinbard

shall maintain detailed records of all actual, necessary and appropriate costs and expenses

incurred in connection with the aforementioned professional services.

         3.        Kleinbard shall be compensated upon appropriate application in accordance with

sections 330 and 331 of the Bankruptcy Code, applicable provisions of the Bankruptcy Rules,

Local Rules, and any other applicable procedures and orders of the Court, including by making a

reasonable effort to comply with the Guidelines for Reviewing Applications for Compensation

and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11

Cases Effective as of November 1, 2013 (the “Revised UST Guidelines”), both in connection

with the Application and the interim and final fee applications to be filed by Kleinbard in this

chapter 11 case.

         4.        The costs and expenses incurred by Kleinbard shall be reimbursed in conformity

with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules and

the Revised UST Guidelines.


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         5.        Kleinbard is authorized to apply the advance payments to satisfy any unbilled or

other remaining prepetition fees and expenses Kleinbard becomes aware of during its ordinary

course billing review and reconciliation.

         6.        Prior to any increases in Kleinbard’s rates beyond the 2020 rates set forth in the

Application, Kleinbard shall file a supplemental declaration with the Court and provide ten (10)

business days’ notice to the Debtor, the United States Trustee and any official committee. The

supplemental affidavit shall explain the basis for the requested rate increases in accordance with

section 330(a)(3)(F) of the Bankruptcy Code and state whether the Debtor has consented to the

rate increase. The United States Trustee retains all rights to object to any rate increase on all

grounds including, but not limited to, the reasonableness standard provided for in section 330 of

the Bankruptcy Code, and the Court retains the right to review any rate increase pursuant to

section 330 of the Bankruptcy Code.

         7.        Kleinbard shall use its reasonable efforts to avoid any duplication of services

provided by any of the Debtor’s other retained professionals in this Chapter 11 Case.

         8.        The relief granted herein shall be binding upon any chapter 11 trustee appointed

in the Chapter 11 Case, or upon any chapter 7 trustee appointed in the event of a subsequent

conversion of the Chapter 11 Case to a case under chapter 7.

         9.        The Debtor and Kleinbard are authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Application.

         10.       Notice of the Application as provided therein is deemed to be good and sufficient

notice of such Application, and the requirements of the Bankruptcy Code, the Bankruptcy Rules,

and the Local Rules are satisfied by the contents of the Application.




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         11.       To the extent the Application is inconsistent with this Order, the terms of this

Order shall govern.

         12.       The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         13.       This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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                                   Exhibit B

                     Declaration of Matthew H. Haverstick




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                            UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                 HARRISBURG DIVISION

In re:                                                   Chapter 11

ROMAN CATHOLIC                   DIOCESE         OF      Case No. 1:20-bk-00599 (HWV)
HARRISBURG,

                          Debtor.1


    DECLARATION OF MATTHEW H. HAVERSTICK IN SUPPORT OF DEBTOR’S
    APPLICATION FOR ENTRY OF AN ORDER APPROVING THE EMPLOYMENT
     AND RETENTION OF KLEINBARD, LLC AS SPECIAL COUNSEL FOR THE
     DEBTOR AND DEBTOR IN POSSESSION EFFECTIVE AS OF THE PETITION
          DATE, TOGETHER WITH DISCLOSURE OF COMPENSATION
                 PURSUANT TO BANKRUPTCY RULE 2016(b)

         Pursuant to 28 U.S.C. § 1746, I, Matthew H. Haverstick, hereby declare and state as

follows:

                                               FOUNDATION

         1.        I am a managing partner in the law firm of Kleinbard, LLC (“Kleinbard”). I am

admitted to practice before the courts of the State of Pennsylvania and the United States District

Court for the Middle District of Pennsylvania, among others. I submit this declaration (this

“Declaration”), pursuant to sections 327(a) and 329 of title 11 of the United States Code (the

“Bankruptcy Code”), Rules 2014 and 2016(b) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), Rules 2014-1 and 2016-1 of the Local Bankruptcy Rules for the United

States Bankruptcy Court for the Middle District of Pennsylvania (the “Local Rules”), and the

Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013


1
 The last four digits of the Debtor’s federal tax identification number are: 4791. The Debtor’s principal place of
business is located at 4800 Union Deposit Road, Harrisburg, Pennsylvania 17111.


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(the “U.S. Trustee Fee Guidelines”), in support of the Debtor’s Application for Entry of an

Order Approving the Employment and Retention of Kleinbard LLC as Special Counsel for the

Debtor and Debtor in Possession Effective as of the Petition Date (the “Application”).2 Unless

otherwise stated in this Declaration, I have personal knowledge of the facts set forth herein.

                           THE DEBTOR’S RETENTION OF KLEINBARD

           2.       Kleinbard is a Philadelphia-based firm with approximately 35 attorneys in its

Philadelphia and Harrisburg offices. Kleinbard has extensive expertise and experience in many

aspects of the law that may arise in the above-captioned chapter 11 case (the “Chapter 11

Case”), including substantial expertise in matters that arise in diocesan matters.

           3.       The attorneys at Kleinbard have general experience representing clients in

connection with chapter 11 bankruptcies, and specialized experience representing diocesan

entities in such matters as criminal investigations, child sexual abuse litigation, complex

litigation matters, and corporate structuring.

           4.       Since September 1, 2016 (the “Retention Date”), Kleinbard has been engaged by

the Debtor in connection with various non-bankruptcy matters relating to, among other things,

criminal investigations, child sexual abuse litigation, and complex litigation matters, pursuant to

engagement letters dated: (a) September 1, 2016; (b) September 20, 2018; (c) September 25,

2018; (d) October 10, 2018; (e) November 5, 2018; (f) January 15, 2019; and (g) July 26, 2019,

with addendums dated October 21, 2019 and December 2, 2019 (collectively, the “Original

Engagement Letter”), copies of which are attached to this Declaration as Exhibit 1-A.

           5.       On February 1, 2020, the Debtor executed an amended and restated engagement

letter (the “Engagement Letter”) with Kleinbard, a true and correct copy of which is attached

2
    Capitalized terms used herein but not otherwise defined shall have the meanings set forth in the Application.
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hereto as Exhibit 1-B concerning Kleinbard’s retention as special counsel in connection with

and during the course of this chapter 11 proceeding.

         6.        The Engagement Letter sets forth the scope of Kleinbard’s services. Since the

Retention Date, Kleinbard has provided the Debtor with a wide array of legal services in

connection with criminal investigations, civil litigation, and corporate advice. Kleinbard’s

professionals have worked closely with the Debtor’s management and other professionals with

regard to these matters and, given both past representations and recent work, Kleinbard is well-

acquainted with the Debtor’s corporate history, structure, business operations, and the

background that has lead the Debtor to file this Chapter 11 Case. As a result, Kleinbard has

developed relevant experience and expertise regarding the Debtor that will assist it in providing

effective and efficient services in the Chapter 11 Case.

                                   SERVICES TO BE PROVIDED

         7.        The Debtor seeks to employ Kleinbard on an hourly basis to act as the Debtor’s

general bankruptcy and litigation counsel in the Chapter 11 Case and in matters that arise with

respect thereto or to the Debtor, and to provide the Debtor with general legal services in other

areas, including, without limitation, legal services relating to the operation of the Debtor’s

businesses, securities laws, tax, and corporate governance. In particular, the Debtor anticipate

that Kleinbard will render, among others, the following professional services:

                   a.     advice and support in connection with the Debtor’s chapter 11 proceeding;

                   b.     advice and support in connection with any ongoing or newly arising
                   criminal or regulatory investigations;

                   c.       advice and support for seeking insurance coverage, including through
                   litigation in the course of the Debtor’s chapter 11 bankruptcy proceeding;

                   d.     advice and support for various internal investigations; and

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                   e.     advice and support in connection with claims and litigation arising from
                   childhood sexual abuse.

         8.        The Debtor requires knowledgeable counsel to provide these essential

professional services. Kleinbard has stated its desire and willingness to act in the Chapter 11

Case and provide the necessary services as attorneys for the Debtor. As noted above, Kleinbard

has substantial expertise in all of these areas, and has gained valuable knowledge of the Debtor’s

business and financial affairs as a result of its prepetition representation of the Debtor. For all of

these reasons, Kleinbard is both well qualified and uniquely able to represent the Debtor’s

interests in the Chapter 11 Case.

                          PREPETITION PAYMENTS TO KLEINBARD

         9.        Per the terms of the Original Engagement Letter, on or about September 20, 2019,

the Debtor paid $60,000 to Kleinbard as an advance payment retainer consistent with the

Pennsylvania Rules of Professional Conduct.

         10.       Per the terms of the Engagement Letter, Kleinbard has maintained the $60,000

(the “Retainer Balance”) as an advance payment retainer consistent with the Pennsylvania Rules

of Professional Conduct.

         11.       Shortly before the Petition Date, Kleinbard applied a portion of the Retainer

Balance to pay all then accrued and anticipated unpaid fees for services performed and expenses

incurred. Accordingly, Debtor will not owe Kleinbard any sums for prepetition services.

         12.       In the ordinary course of Kleinbard’s representation of the Debtor, Kleinbard

engaged certain third-party vendors to provide services such as hosting electronic records.

Kleinbard has made every attempt to assure all prepetition amounts due and owing to these third-




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party vendors has been billed and paid; however, out of an abundance of caution, Kleinbard is

seeking authority to have any remaining amounts paid postpetition.

         13.       In the twelve (12) months prior to the filing of the Chapter 11 Case, Kleinbard

received payments from the Debtor in the aggregate amount of approximately $1,159,029.81 for

professional services rendered and expenses incurred. After giving effect to the reconciliation

process described in the preceding paragraph, Kleinbard expects the Retainer Balance to be

approximately $60,000.00. This Retainer Balance will be held by Kleinbard as security for post-

petition services and expenses. A chart detailing the timing and amount of each advance payment

and application of the Retainer Balance against fees and expenses is attached hereto as Exhibit

2.

                   KLEINBARD’S FEES FOR SERVICES TO BE RENDERED
                     IN CONNECTION WITH THE CHAPTER 11 CASE

         14.       Except as described herein, pursuant to the terms and conditions of the

Engagement Letter and subject to the Court’s approval, Kleinbard intends to (a) charge for its

legal services on an hourly basis in accordance with its ordinary and customary hourly rates in

effect on the date services are rendered, and (b) seek reimbursement of actual and necessary out-

of-pocket expenses.

         15.       Kleinbard’s current hourly rates for matters related to this Chapter 11 Case are as

follows:

                           Professional Level           Hourly Rate Range
                           Partner                          $400–$425
                           Counsel                             $400
                           Associate                           $295
                           Paralegal                           $195



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         16.       Kleinbard’s hourly rates are set at a level designed to compensate Kleinbard fairly

for the work of its attorneys and paraprofessionals and to cover fixed and routine expenses.

Hourly rates vary with the experience and seniority of the individuals assigned. These hourly

rates are subject to periodic adjustments to reflect economic and other conditions.3 Kleinbard has

represented the Debtor during the period before the Petition Date using the hourly rates listed

above, subject to the periodic adjustments reflecting economic and other conditions. These

hourly rates are consistent with the rates that Kleinbard charges other non-bankruptcy and

chapter 11 clients, regardless of the location. Moreover, the rate structure is appropriate and not

significantly different from (a) the rates Kleinbard charges for other similar types of

representations or (b) the rates that other comparable counsel would charge to do work

substantially similar to the work Kleinbard will perform in this Chapter 11 Case.

         17.       A list of the professionals currently expected to provide services to the Debtor and

the current hourly rates for these professionals for 2020 is attached hereto as Schedule 1. Other

attorneys may also provide services to the Debtor as well, depending on the legal issues facing

the Debtor.

         18.       Kleinbard will maintain detailed, contemporaneous records of time spent, as well

as any actual and necessary expenses incurred, in connection with the rendering of the legal

services described above by category and nature of the services rendered. Notwithstanding the

foregoing, Kleinbard acknowledges its compensation will be subject to approval by this Court.

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  The hourly rates charged by Kleinbard professionals differ based on, among other things, the professional’s level
of experience. Like many of its peer law firms, Kleinbard increases the hourly billing rate of attorneys and
paraprofessionals each year in the form of: (i) step increases historically awarded in the ordinary course on the
basis of advancing seniority and promotion and (ii) periodic increases within each attorney’s and paraprofessional’s
current level of seniority. The step increases do not constitute “rate increases” (as the term is used in the U.S.
Trustee Fee Guidelines). As set forth in the Proposed Order, Kleinbard will provide ten business days’ notice to
the Debtor, the U.S. Trustee, and any official committee before implementing any periodic increases, and shall file
such notice with the Court.
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         19.       Kleinbard intends to apply to the Court for payment of compensation and

reimbursement of expenses in accordance with the procedures set forth in the applicable

provisions of sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, and the Local

Rules, as those procedures may be modified or supplemented by order of this Court. As specified

above, Kleinbard will hold the Retainer Balance as security for post- petition services and

expenses and will bill the Debtor during the pendency of the Chapter 11 Case, subject to

approval by the Court. The Retainer Balance will be applied to Kleinbard’s final fee application,

as approved by the Court.

         20.       Kleinbard has agreed not to share with any person or firm the compensation to be

paid for professional services rendered in connection with the Chapter 11 Case, other than as

permitted pursuant to section 504 of the Bankruptcy Code. Kleinbard also intends to make a

reasonable effort to comply with the U.S. Trustee’s request for information and additional

disclosures as set forth in the U.S. Trustee Fee Guidelines, both in connection with the

Application and the interim and final fee applications to be filed by Kleinbard in this Chapter 11

Case.

         21.       It is Kleinbard’s policy to charge its clients in all areas of practice for identifiable,

non-overhead expenses incurred in connection with the client’s case that would not have been

incurred except for representation of that particular client. It is also Kleinbard’s policy to charge

its clients only the amount actually incurred by Kleinbard in connection with such items.

Examples of such expenses include postage, overnight mail, courier delivery, transportation,

overtime expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging.

In addition, Kleinbard professionals also may charge their overtime meals and overtime

transportation to the Debtor consistent with prepetition practices.
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         22.       Consistent with past practice, Kleinbard will charge no more than $0.20 per page

for standard duplication services in this Chapter 11 Case. Kleinbard does not charge its clients

for incoming facsimile transmissions.

         23.       By separate applications, the Debtor is seeking Court approval for the retention of

Waller, Lansden, Dortch & Davis, LLP as primary bankruptcy counsel and Keegan, Linscott &

Associates, PC as financial advisors (collectively with Waller, the “Debtor’s Professionals”).

The Debtor previously sought approval to retain Epiq Corporate Restructuring, LLC as their

claims, noticing and balloting agent. The Debtor may also file motions or applications to employ

additional professionals.

         24.       Each of the firms listed above works, and will continue to work, under the

direction of the Debtor’s management. I understand that the Debtor’s directors and senior

management are committed to minimizing duplication of services to reduce professional costs,

among other things. To that end, Kleinbard will work closely with each professional to ensure

that there is no unnecessary duplication of effort or cost.

                              KLEINBARD’S DISINTERESTEDNESS

         25.       To the best of my knowledge, information, and belief, (a) other than its prior

representations of the Debtor and its representation in connection with the Chapter 11 Case,

Kleinbard has no connection with the Debtor except as disclosed herein; (b) Kleinbard does not

represent, and has not represented, any entity other than the Debtor in the Chapter 11 Case;

(c) Kleinbard does not have any connection with, and has not represented in the past, the United

States Trustee for the Middle District of Pennsylvania, or any person employed by the Office of

the United States Trustee for the Middle District of Pennsylvania; and (d) Kleinbard does not


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have any connection with the Debtor’s creditors, any other party in interest, or their respective

attorneys and accountants, except as set forth below.

         26.       To check and clear conflicts, and in preparing my declaration, Kleinbard used a

set of procedures that it has developed to ensure compliance with the requirements of the

Pennsylvania Rules of Professional Conduct, conflicts rules observed by the Third Circuit Court

of Appeals, the Bankruptcy Code, and the Bankruptcy Rules regarding the retention of

professionals in chapter 11 cases. Pursuant to these procedures, Kleinbard performed the

following actions to determine whether Kleinbard or any of its attorneys has any connections

with, has in the past represented, or is currently representing potential parties in interest in the

Chapter 11 Case:

         (a)       A list of interested parties (the “Interested Parties”) was created using
                   information provided by the Debtor and additional information identified by
                   Kleinbard. The list of Interested Parties is comprised of the following entities,
                   whose identities are set forth in Schedule 2, attached hereto:

                       (i)      the Debtor and certain non-debtor affiliates;

                       (ii)     the Debtor’s secured bank lenders and their counsel;

                       (iii)    the Debtor’s top 20 unsecured creditors;

                       (iv)     the Debtor’s prepetition and (proposed) postpetition advisors,
                                attorneys, and other professionals;

                       (v)      officers, managers, and board members of the Debtor serving
                                currently or within the past two years;

                       (vi)     the Debtor’s cash management banks, landlords, utility providers,
                                insurers, insurance brokers, and taxing authorities;

                       (vii)    parties adverse to the Debtor in significant litigation;

                       (viii)   lienholders on property of the Debtor’s estates;

                       (ix)     United States Bankruptcy Judges in the Middle District of
                                Pennsylvania; and
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                        (x)    United States Trustee for the Middle District of Pennsylvania,
                               Harrisburg Division, and their attorneys.

         (b)       Kleinbard compared each of the Interested Parties to the names that Kleinbard
                   maintains in its master conflicts database. Kleinbard’s client database includes:
                   (i) the name of each current or former client; (ii) the names of any entities
                   materially related to, or materially adverse to, such current or former client; (iii)
                   the names of the Kleinbard attorneys responsible for such current or former
                   clients; (iv) the status of the matter as either “active” or “inactive”; and (v) the
                   dates on which the matter was opened and/or closed. Kleinbard also circulated
                   the list of Interested Parties to its attorneys, who were required to disclose any
                   actual or potential conflicts of interest as part of Kleinbard’s normal conflicts
                   screening procedures; and

         (c)       Any matches between the Interested Parties and the entities in Kleinbard’s client
                   database were identified, reviewed by an attorney, and compiled for purposes of
                   this Declaration. To the extent that Kleinbard currently represents, or has
                   represented within the last three years, any of the Interested Parties, the identities
                   of such entities are set forth in this Declaration. In determining whether a client is
                   presently represented by Kleinbard, Kleinbard attorneys relied on the existence of
                   an “active” notation on the report to reflect current representation. With respect
                   to matters showing as “inactive,” Kleinbard relied on the “close date” to
                   determine whether the representation occurred within the past three years. If an
                   “inactive” matter opened prior to February 2017 showed no “close date,”
                   Kleinbard assumed for purposes of this disclosure that the matter was inactive
                   during the past three years and did not include the client in this Declaration. If an
                   “inactive” matter was opened on or after February 2017 but showed no “close
                   date,” the client is included in this Declaration.

         27.       Based on the search of names set forth in Schedule 2, Kleinbard concluded it has

the following connections with the Debtor and the Interested Parties:

         (a)       Kleinbard has represented Bishop Ronald W. Gainer in his capacity as Bishop of
                   the Roman Catholic Diocese of Harrisburg in civil litigation filed against the
                   Debtor.

         (b)       Kleinbard has represented the Lancaster County District Attorney in civil
                   litigation unrelated to the Debtor. The litigation ended on January 10, 2020.

         (c)       Kleinbard and one of its attorneys currently represents, and may in the future
                   continue to represent, PNC’s Wealth Management Group in its capacity as
                   executor or trustee in various trust and estate matters in connection with
                   accountings, petitions for adjudication, and estate administrations. Kleinbard does
                   not believe its representation of PNC’s Wealth Management Group presents a
                   conflict for Kleinbard, but is making this disclosure out of an abundance of
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                   caution. To be clear, Kleinbard has not represented and will not represent PNC
                   Wealth Management Group or any other parties other than the Debtor in this
                   Chapter 11 Case.

         (d)       From time to time, Kleinbard has represented, and likely will continue to
                   represent, the Graham Group and certain other creditors of the Debtor and other
                   parties actually or potentially adverse to the Debtor in matters unrelated to the
                   Chapter 11 Case. As described herein, Kleinbard has undertaken a detailed search
                   to determine whether it represents or has represented any significant creditors,
                   insiders or other parties in interest in such unrelated matters, and all such known
                   representations within the last three years are described herein. Due to the breadth
                   of Kleinbard’s client base, the firm is not subject to undue influence of any single
                   client.

         28.       Other than as disclosed in the preceding paragraph, Kleinbard’s does not have any

connections with the Interested Parties. These entities, and/or their affiliates or related entities as

identified by Kleinbard’s master client database, are among the Interested Parties in this Chapter

11 Case. Services provided to the entities disclosed herein and/or their affiliates or related

entities as identified by Kleinbard’s master client database, do not individually represent a

material percentage of Kleinbard’s revenue for the twelve-month period ending February 1,

2020. Moreover, Kleinbard has a diverse client base and does not believe that any individual

entity (or in the case of affiliated entities, any such affiliate group) on the Interested Parties list

represents more than 1.5% of Kleinbard’s revenue for the twelve-month period ending February

1, 2020. Due to the breadth of Kleinbard’s client base, the firm is not subject to the undue

influence of any single client. To be clear, Kleinbard does not and will not represent any of these

parties in connection with the Chapter 11 Case.

         29.       I am confident that our diligence has resulted, to the greatest extent possible, in

the disclosure of all potential conflicts. However, despite the efforts described herein to identify

and disclose Kleinbard’s connections with parties in interest in the Chapter 11 Case, I am unable

to state with absolute certainty that every client representation or other connection has been
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disclosed because Kleinbard is a national law firm with over 235 attorneys in five offices. In this

regard, if Kleinbard discovers additional information that requires disclosure, Kleinbard will file

a supplemental disclosure with the Court. Additionally, to the extent that issues may arise which

would cause the Debtor to be adverse to any of Kleinbard’s clients, Kleinbard will obtain and

disclose waivers or, to the extent that it would not be appropriate for Kleinbard to represent the

Debtor with respect to such matters, other counsel employed by the Debtor will represent the

Debtor in connection with such matters.

         30.       Based upon information available to me at this time, I believe that Kleinbard is a

“disinterested person” pursuant to section 101(14) of the Bankruptcy Code, and that Kleinbard

does not hold or represent an interest adverse to the Debtor or their estates as required by section

327(a) of the Bankruptcy Code. Specifically, I do not believe that the connections between

Kleinbard and the entities listed herein will impair Kleinbard’s ability to represent the Debtor in

this Chapter 11 Case.

         31.       No promises have been received by Kleinbard or any member or associate thereof

as to payment or compensation in connection with this case other than in accordance with the

provisions of the Bankruptcy Code and the Bankruptcy Rules. Other than with members and

regular associates of the firm, Kleinbard has no agreement with any other entity to share with

such entity any compensation received by Kleinbard.

         32.       Consistent with the U.S. Trustee Fee Guidelines, I state as follows:

        Kleinbard has not agreed to a variation of its standard or customary billing arrangements
         for this engagement.

        None of Kleinbard’s professionals included in this engagement have varied their rate
         based on the geographic location of the Chapter 11 Case.


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        Kleinbard was retained by the Debtor pursuant to the Engagement Letter dated as of
         February 1, 2020. The material terms of the prepetition engagement are the same as the
         terms described in the Application and herein, and the billing rates have not changed
         other than periodic annual increases as provided in the Engagement Letter and explained
         in the Application.

        The Debtor has approved or will be approving a prospective budget and staffing plan for
         Kleinbard’s engagement for the postpetition period as appropriate. In accordance with the
         U.S. Trustee Guidelines, the budget may be amended as necessary to reflect changed or
         unanticipated developments.

         33.       The foregoing constitutes the statement of Kleinbard pursuant to sections 327(a),

329 and 504 of the Bankruptcy Code and Bankruptcy Rules 2014(a) and 2016(b).

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge, information, and belief.

Executed on February 24, 2020



                                                /s/ Matthew H. Haverstick
                                                Matthew H. Haverstick




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                                 EXHIBIT 1-A

                    ORIGINAL ENGAGEMENT LETTERS




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  \ifatthew H. Haverstick
  mhavers1ick@kleinbard.com
  215.496.7225




                                                         September 1, 2016


        Private and Confulential

        Via Email & U.S.P.S.


        Diocese of Harrisburg
        ATTN: Terrence J. Kerwin,
                 Solicitor, Diocese of Harrisburg
        Kerwin & Kerwin
        4245 Route 209
        Elizabethville, PA 17023

        RE:     Engagement for Legal Services

        Dear Mr. Kerwin:

                I would like to thank you for engaging Kleinbard LLC ("we", "us" or the "Firm") to
        represent the Diocese of Harrisburg (the "Client/sf' or 'you") in the matters discussed below. In
        accordance with the Rules of Professional Conduct governing attorneys in the Commonwealth of
        Pennsylvania (the "Professional Rules"), this letter agreement (this "Agreement") confirms our
        engagement and sets forth our fee arrangement with you in connection with these matters and,
        unless otherwise agreed, any other matters for which the Firm may render legal services to the
        Diocese of Harrisburg.

               Scope of Representation [and Limitations Thereon]. You have engaged the Firm to
       represent the Diocese of Harrisburg in connection with a
                      We do not represent any person or entity that has not been specifically identified
       in this Agreement as a client and no duties have been undertaken or assumed for any such person
       or entity.

               Fees. You have agreed to compensate the Firm at our prevailing hourly rates for the
       legal services rendered by our attorneys or paralegals. These rates vary for each attorney and
       paralegal based upon experience and years of practice. Our current hourly rates for attorneys
       range from $295 to $675 and are adjusted from time to time, usually annually, but we anticipate
       that they will remain in effect throughout 2016. I will have overall responsibility for this
       engagement and our representation of the Diocese ofHarrisburg; at an hourly rate of$415; along
       with my partner, Mark E. Seiberling, at an hourly rate of $400; and our associate Joshua J. Voss,




One Libercy Place, 46th Floor   1650 Market Street   Philadelphia, PA 19103   T: 215.568.2000   F: 215.568.0140   Kleinbard.com


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      Solicitor, Diocese of Harrisburg
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   at an hourly rate of $330. In addition, the Firm will utilize the services of other attorneys and
   paralegals where, in our discretion, we determine that it is in your best interest.

           Costs and Expenses. You have also agreed to pay the Firm for all related costs and
   expenses that the Firm incurs (e.g., database searching and retrieval charges, filing fees, courier
   services, transcription services, facsimile charges, duplication charges). Please note that the
   Finn has the right, but not the obligatio~ to advance costs on your behalf. In addition, please
   keep in mind that billing for certain of these cosy; and expenses may lag the rendering or use of
   the underlying services because of delays in the receipt of third-party bills and the posting of
   accounts. Fees and expenses of other professionals engaged by the Firm on your behalf (e.g.,
   consultants, appraisers, local counsel) generally will not be paid by the Finn, but will be billed
   directly to you.

            Billing Statements. Because we have learned from experience that clients prefer to be
   billed timely, the Firm will submit written billing statements to you, usually monthly, for legal
   services rendered (and costs and expenses incurred) during the period covered by such statement,
   with payment in full of the total balance due twenty (20) days after the date of such statement.
  We ask that you review our billing statements promptly upon receipt and advise us immediately
  if there are any questions about them, so that we can investigate and respond to such questions
  while memories remain fresh. If a billing statement is not questioned by the time payment
  becomes due, we will rely upon our understanding that the amount and details of the bill are self-
  explanatory and satisfactory. The Firm does not currently charge interest to clients and, in order
  to permit us to continue this policy, we expect all of our clients to keep their payments current.
  If payments are not kept current, we may require that you deliver to us a retainer prior to
  performing additional work. If you fail to keep payments current or to pay promptly any such
  retainers, the Firm reserves the right to withdraw from our representation. Notwithstanding any
  such withdrawal, you will remain obligated to pay to the Firm any and all outstanding amounts
  due and owing to the Firm pursuant to the terms of this Agreement.

           Communications. The Firm regularly communicates with its clients and with third
  parties, on behalf of its clients, through the use of landline, digital and cellular telephones,
  unencrypted email and facsimile machines. Each of these means of communication is practically
  and technologically susceptible to varying risks of interception by (or misdelivery to) unintended
  recipients. By executing this Agreement, you consent to the Firm's utilization of the foregoing
  means of communication. In addition, we are often asked, in a marketing context, to identify
  clients of the Finn. Although we will not disclose privileged or confidential information
  regarding you or our representation of your interests, unless you advise us to the contrary, the
  Finn will assume that you authorize us to identify you as a client of the Finn in our brochures, on
  our website and in other written materials used to market the Firm's services.




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   Terrence J. Kerwin,
      Solicitor, Diocese of Harrisburg
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          Miscellaneous. This Agreement and any right or claim arising from our engagement
   may not be transferred or assigned by the Diocese of Harrisburg without the Firm's prior written
   consent. In addition, you agree that the Firm may consult with its internal counsel about the
   Firm's duties and obligations to the Diocese of Harrisburg and any such communications will be
   considered privileged as between the Firm and such internal counsel.

          If you are in agreement with the foregoing, please execute and return to me a copy of this
   Agreement. Upon execution of this Agreement by the Fi.'lll. and you, this Agreement will
   supersede all prior understandings regarding our engagement and will constitute a binding
   agreement between the Finn and you effective as of the date that we first provided legal services
   on the Diocese of Harrisburg behalf. This Agreement shall be governed by and construed in
   accordance with the Professional Rules and the substantive law of the Commonwealth of
   Pennsylvania.

          We are pleased to have the opportunity to be of service to you. If you have any questions
  concerning this Agreement or anything else about our representation either now or in the future,
  please contact me.



                                                v~

                                                MATIHEW H. HAVERSTICK

  MHH/gk
  cc: Philip J. Murren, Esq. (Via Email Only)
      Mark E. Seiberling, Esq. (Via Email Only)
      Joshua J. Voss, Esq. (Via Email Only)


  Acknowledged and Agreed as of
  the Date First Above Written:

  DIOCESE OF HARRISBURG



                                 J.  RWIN
                               , DIOCESE OF HARRISBURG




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 Matthew H. Haverstick
 mhaverstick@kleinbard.com
 215.496.7225



                                                         KLEINBARDtlC

                                                        November 15, 2016

       Private and Confidential

       Via U.S.P.S.

       Diocese of Harrisburg
       ATTN: Terrence J. Kerwin,
                Solicitor, Diocese of Harrisburg
       Kerwin & Kerwin
       4245 Route 209
       Elizabethville, PA 17023

       RE:     Engagement for Legal Services

       Dear Mr. Kerwin:

              I would like to thank you for engaging Kleinbard LLC ("we", "us" or the "Firm") to
       represent the Diocese of Harrisburg (the "Client[sf' or ''you") in the matters discussed below. In
       accordance with the Rules of Professional Conduct governing attorneys in the Commonwealth of
       Pennsylvania (the "Professional Rules"), this letter agreement (this "Agreement") confirms our
       engagement and sets forth our fee arrangement with you in connection with these matters and,
       unless otherwise agreed, any other matters for which the Firm may render legal services to the
       Diocese of Harrisburg.

               Scope of Representation [and Limitations Thereon]. You have engaged the Firm to
       re resent the Diocese of Harris bur in connection with Insurance Coverage
                                             We do not represent any person or entity that has not been
       specifically identified in this Agreement as a client and no duties have been undertaken or
       assumed for any such person or entity.

               Fees. You have agreed to compensate the Firm at our prevailing hourly rates for the
       legal services rendered by our attorneys or paralegals. These rates vary for each attorney and
       paralegal based upon experience and years of practice. Our current hourly rates for attorneys
       range from $295 to $675 and are adjusted from time to time, usually annually, but we anticipate
       that they will remain in effect throughout 2016. I will have overall responsibility for this
       engagement and our representation of the Diocese of Harrisburg, at an hourly rate of $415; along
       with my partners, Steven J. Engelmyer, at an hourly rate of $415, and Mark E. Seiberling, at an
       hourly rate of $400; and our associate Joshua J. Voss, at an hourly rate of $330. In addition, the
       Firm will utilize the services of other attorneys and paralegals where, in our discretion, we
       determine that it is in your best interest.



One Liberty Place, 46th Floor   1650 Market Street   Philadelphia, PA 19103   T: 215.568.2000   F: 215.568.0140   Klein bard.corn
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Terrence J. Kerwin,
   Solicitor, Diocese of Harrisburg
November 15, 2016
Page 2



        Costs and Expenses. You have also agreed to pay the Firm for all related costs and
expenses that the Firm incurs (e.g., database searching and retrieval charges, filing fees, courier
services, transcription services, facsimile charges, duplication charges). Please note that the
Firm has the right, but not the obligation, to advance costs on your behalf. In addition, please
keep in mind that billing for ce1iain of these costs and expenses may lag the rendering or use of
the underlying services because of delays in the receipt of third-party bills and the posting of
accounts. Fees and expenses of other professionals engaged by the Firm on your behalf (e.g.,
consultants, appraisers, local counsel) generally will not be paid by the Firm, but will be billed
directly to you.

         Billing Statements. Because we have learned from experience that clients prefer to be
billed timely, the Firm will submit written billing statements to you, usually monthly, for legal
services rendered (and costs and expenses incurred) during the period covered by such statement,
with payment in full of the total balance due twenty (20) days after the date of such statement.
We ask that you review our billing statements promptly upon receipt and advise us immediately
if there are any questions about them, so that we can investigate and respond to such questions
while memories remain fresh. If a billing statement is not questioned by the time payment
becomes due, we will rely upon our understanding that the amount and details of the bill are self-
explanatory and satisfactory. The Firm does not currently charge interest to clients and, in order
to permit us to continue this policy, we expect all of our clients to keep their payments current.
If payments are not kept current, we may require that you deliver to us a retainer prior to
performing additional work. If you fail to keep payments current or to pay promptly any such
retainers, the Firm reserves the right to withdraw from our representation. Notwithstanding any
such withdrawal, you will remain obligated to pay to the Firm any and all outstanding amounts
due and owing to the Firm pursuant to the terms of this Agreement.

        Communications. The Firm regularly communicates with its clients and with third
parties, on behalf of its clients, through the use of landline, digital and cellular telephones,
unencrypted email and facsimile machines. Each of these means of communication is practically
and technologically susceptible to varying risks of interception by (or misdelivery to) unintended
recipients. By executing this Agreement, you consent to the Firm's utilization of the foregoing
means of communication. In addition, we are often asked, in a marketing context, to identify
clients of the Firm. Although we will not disclose privileged or confidential information
regarding you or our representation of your interests, unless you advise us to the contrary, the
Film will assume that you authorize us to identify you as a client of the Firm in our brochures, on
our website and in other written materials used to market the Firm's services.

       Miscellaneous. This Agreement and any right or claim arising from our engagement
may not be transferred or assigned by the Diocese of Harrisburg without the Firm's prior written
consent. In addition, you agree that the Firm may consult with its internal counsel about the
Film's duties and obligations to the Diocese of Harrisburg and any such communications will be
considered privileged as between the Firm and such internal counsel.




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Terrence J. Kerwin,
   Solicitor, Diocese of Harrisburg
November 15, 2016
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       If you are in agreement with the foregoing, please execute and return to me a copy of this
Agreement. Upon execution of this Agreement by the Firm and you, this Agreement will
supersede all prior understandings regarding our engagement and will constitute a binding
agreement between the Film and you effective as of the date that we first provided legal services
on the Diocese of Harrisburg's behalf. This Agreement shall be governed by and construed in
accordance with the Professional Rules and the substantive law of the Commonwealth of
Pennsylvania.

        We are pleased to have the opportunity to be of service to you. If you have any questions
concerning this Agreement or anything else about our representation either now or in the future,
please contact me.




                                                 MATTHEW H. HAVERSTICK

MHH/gk


Acknowledged and Agreed as of
the Date First Above Written:

DIOCESE OF HARRISBURG



By:~~
Name:  NCE J. KERWIN
TitkS~OR, DIOCESE OF HARRISBURG




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 Matthe w H. Haverstic k
 m haverstic k(a)kJeinbard.com
 215.496. 7225




                                                       September 20, 2018

       VIA HAND DELIVERY

       Private and Confidential

       Very Reverend David L. Danneker
       Vicar General and Moderator of the Curia
       Diocese of Harrisburg
       4800 Union Deposit Road
       Harrisburg, PA 17111-3710

       RE:      Engagement for Legal Services

       Dear Fr. David Danneker:

               I would like to thank you for engaging Kleinbard LLC ("we", "us" or the "Firm") to
       represent the Diocese of Harrisburg (the "Clienf' or "you") in the matters discussed below. In
       accordance with the Rules of Professional Conduct governing attorneys in the Commonwealth of
       Pennsylvania (the "Professional Rules"), this letter agreement (this "Agreement") confirms our
       engagement and sets forth our fee arrangement with you in connection with these matters and,
       unless otherwise agreed, any other matters for which the Firm may render legal services to the
       Diocese of Harrisburg.

              Scope of Representation and Limitations Thereon. You have engaged the Firm to
      represent the Diocese of Harrisburg in connection with a claim involving John Allen and John
      Doe regarding allegations of child sexual abuse. We do not represent any person or entity that
      has not been specifically identified in this Agreement as a client and no duties have been
      undertaken or assumed for any such person or entity.

               Fees. You have agreed to compensate the Firm at our prevailing hourly rates for the
      legal services rendered by our attorneys or paralegals. These rates vary for each attorney and
      paralegal based upon experience and years of practice. Our current hourly rates for attorneys
      range from $285 to $715 and are adjusted from time to time, usually annually, but we anticipate
      that they will remain in effect throughout 2018. Mark E. Seiberling, Joshua J. Voss and I will
      have overall responsibility for this engagement and our representation of the Diocese of
      Harrisburg, at a blended hourly rate of $250. In addition, the Firm will utilize the services of
      other attorneys and paralegals where, in our discretion, we determine that it is in your best
      interest.

             Costs and Expenses. You have also agreed to pay the Firm for all related costs and
      expenses that the Firm incurs (e.g., database searching and retrieval charges, filing fees, courier
      services, transcription services, facsimile charges, duplication charges). Please note that the
      (01 529928:vl   l


One Liberty Place, 46th Floor   1650 Market Street Philadelph ia, PA 19103   T: 21S.568.2000   F: 215.568.0140   Klein bard.com

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Very Reverend David L. Danneker
September 20, 2018
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Firm has the right, but not the obligation, to advance costs on your behalf. In addition, please
keep in mind that billing for certain of these costs and expenses may lag the rendering or use of
the underlying services because of delays in the receipt of third-party bills and the posting of
accounts. Fees and expenses of other professionals engaged by the Firm on your behalf (e.g.,
consultants, appraisers, local counsel) generally will not be paid by the Firm, but will be billed
directly to you.

        Billing Statements. The Firm will submit written billing statements to you, usually
monthly, for legal services rendered (and costs and expenses incurred) during the period covered
by such statement, with payment in full of the total balance due twenty (20) days after the date of
such statement (even ifyou have remitted to us any advance retainers as discussed below). We
ask that you review our billing statements promptly upon receipt and advise us immediately if
there are any questions about them, so that we can investigate and respond to such questions
while memories remain fresh. If a billing statement is not questioned by the time payment
becomes due, we will rely upon our understanding that the amount and details of the bill are self-
explanatory and satisfactory. The Firm does not currently charge interest to clients and, in order
to permit us to continue this policy, we expect all of our clients to keep their payments current.
If payments are not kept current, we may require that you deliver to us additional advance
retainers prior to performing additional work. If you fail to keep payments current or to pay
promptly any such retainers, the Firm reserves the right to withdraw from our representation.
Notwithstanding any such withdrawal, you will remain obligated to pay to the Firm any and all
outstanding amounts due and owing to the Firm pursuant to the terms of this Agreement.

         File Retention. The Firm has a file retention policy that will apply to any files,
documents, or other information, in any media, received, created, or stored by us in connection
with our representation of you (the "File Retention Policy"). You acknowledge and consent to
the File Retention Policy, as it may be amended from time to time, including the elements
described in this paragraph. At the Firm's discretion, certain documents or information may be
retained as electronic data or in other storage media both before and after closure of a file. In
general, at the conclusion of a matter the Firm will close a file and transfer it to long-term
storage, and may destroy such file after a period specified in the policy (currently seven years) if
at such time it appears reasonable to us to do so, and unless we have reached a different
agreement with you or received contrary instructions in writing from you. We have discretion to
retain elements of a file in the Firm's records as forms or otherwise. The File Retention Policy
has special provisions regarding original executed estate planning documents such as wills,
trusts, or powers of attorney. We will retain such documents indefinitely, and will deliver them
to you at any time on your written request, subject to your compliance with the terms of this
letter. Original estate planning documents that have been superseded or have otherwise become
ineffective may be destroyed in our discretion or at your request.

         Communications. The Firm regularly communicates with its clients and with third
parties, on behalf of its clients, through the use of land line, digital and cellular telephones,
unencrypted email and facsimile machines. Each of these means of communication is practically


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Very Reverend David L. Danneker
September 20, 2018
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and technologically susceptible to varying risks of interception by (or misdelivery to) unintended
recipients. By executing this Agreement, you consent to the Firm's utilization of the foregoing
means of communication. In addition, we are often asked, in a marketing context, to identify
clients of the Firm. Although we will not disclose privileged or confidential information
regarding you or our representation of your interests, unless you advise us to the contrary, the
Firm will assume that you authorize us to identify you as a client of the Firm in our brochures, on
our website and in other written materials used to market the Firm's services.

       Miscellaneous. This Agreement and any right or claim arising from our engagement
may not be transferred or assigned by the Diocese of Harrisburg without the Firm's prior written
consent. In addition, you agree that the Firm may consult with its internal counsel about the
Firm's duties and obligations to the Diocese of Harrisburg and any such communications will be
considered privileged as between the Firm and such internal counsel.

       If you are in agreement with the foregoing, please execute and return to me a copy of this
Agreement. Upon execution of this Agreement by the Firm and you, this Agreement will
supersede all prior understandings regarding our engagement and will constitute a binding
agreement between the Firm and you effective as of the date that we first provided legal services
on the Diocese of Harrisburg's behalf. This Agreement shall be governed by and construed in
accordance with the Professional Rules and the substantive law of the Commonwealth of
Pennsylvania.

        We are pleased to have the opportunity to be of service to you. If you have any questions
concerning this Agreement or anything else about our representation either now or in the future,
please contact me.




cc: Terrence J. Kerwin, Solicitor
    Diocese of Harrisburg

Acknowledged and Agreed as of
the Date First Above Written:

DIOCESE OF HARRISBURG


By:~~~               ;J ~vW(
 Very Reverend David L. Danneker
 Vicar General and Moderator of the Curia


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 ~[l   I,\ \'FRST!CK@KI ,UNH \ RD.CCl~I
 Direct Dial 2 I 5.496. 7225




                                                September 25, 2018

 VIA EMAIL

 Private and Confidential

 Very Reverend David L. Danneker
 Vicar General and Moderator of the Curia
 Diocese of Harrisburg
 4800 Union Deposit Road
 Harrisburg, PA 17111-3 710
 frddanneker@hbgdiocese.org


 RE:        Engagement for Legal Services

 Dear Fr. David Danneker:

          I would like to thank you for engaging Kleinbard LLC ("we", "us'' or the "Firm") to
 represent the Diocese of Harrisburg and Bp. Ronald Gainer (collectively, the ''Diocese of
 Harrisburg", the ''Client" or "you") in the matters discussed below. In accordance with the
 Rules of Professional Conduct governing attorneys in the Commonwealth of Pennsylvania (the
 ··Professional Rules"), this letter agreement (this ''Agreement') confirms our engagement and
 sets forth our fee arrangement with you in connection with these matters and, unless otherwise
 agreed, any other matters for which the Firm may render legal services to the Diocese of
 Harrisburg.

         Scope of Representation and Limitations Thereon. You have engaged the Firm to
 represent the Diocese of Harrisburg in connection with a class action suit. We do not represent
 any person or entity that has not been specifically identified in this Agreement as a client and no
 duties have been undertaken or assumed for any such person or entity.

         Fees. You have agreed to compensate the Firm at our prevailing hourly rates for the
 legal services rendered by our attorneys or paralegals. These rates vary for each attorney and
 paralegal based upon experience and years of practice. Our current hourly rates for attorneys
 range from $285 to $715 and are adjusted from time to time, usually annually, but we anticipate
 that they will remain in effect throughout 20 I 8. Mark E. Seiberling and I will have overall
 responsibility for this engagement and our representation of the Diocese of Harrisburg, each at
 an hourly rate of $415; along with our associate Joshua J. Voss, at an hourly rate of $360. In
 addition, the Firm will utilize the services of other attorneys and paralegals where, in our
 discretion, we determine that it is in your best interest.

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 Very Reverend David L. Danneker
 September 25, 2018
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         Costs and Expenses. You have also agreed to pay the Firm for all related costs and
 expenses that the Firm incurs (e.g., database searching and retrieval charges, filing fees, courier
 services, transcription services, facsimile charges, duplication charges). Please note that the
 Firm has the right, but not the obligation, to advance costs on your behalf. In addition, please
 keep in mind that billing for certain of these costs and expenses may lag the rendering or use of
 the underlying services because of delays in the receipt of third-party bills and the posting of
 accounts. Fees and expenses of other professionals engaged by the Firm on your behalf (e.g ..
 consultants, appraisers, local counsel) generally will not be paid by the Firm, but will be billed
 directly to you.

         Billing Statements. The Firm will submit written billing statements to you, usually
 monthly, for legal services rendered (and costs and expenses incurred) during the period covered
 by such statement, with payment in full of the total balance due twenty (20) days after the date of
 such statement (even ifyou have remitted to us any advance retainers as discussed below). We
 ask that you review our billing statements promptly upon receipt and advise us immediately if
 there are any questions about them, so that we can investigate and respond to such questions
 while memories remain fresh. If a billing statement is not questioned by the time payment
 becomes due, we will rely upon our understanding that the amount and details of the bill are self-
 explanatory and satisfactory. The Firm does not currently charge interest to clients and, in order
 to permit us to continue this policy, we expect all of our clients to keep their payments current.
 If payments are not kept current, we may require that you deliver to us additional advance
 retainers prior to performing additional work. If you fail to keep payments current or to pay
 promptly any such retainers, the Firm reserves the right to withdraw from our representation.
 Notwithstanding any such withdrawal, you will remain obligated to pay to the Firm any and all
 outstanding amounts due and owing to the Firm pursuant to the terms of this Agreement.

          File Retention. The Firm has a file retention policy that will apply to any files,
 documents, or other information, in any media, received, created, or stored by us in connection
 with our representation of you (the "File Retention Policy"). You acknowledge and consent to
 the File Retention Policy, as it may be amended from time to time, including the elements
 described in this paragraph. At the Firm's discretion, certain documents or information may be
 retained as electronic data or in other storage media both before and after closure of a file. In
 general, at the conclusion of a matter the Firm will close a file and transfer it to long-term
 storage, and may destroy such file after a period specified in the policy (currently seven years) if
 at such time it appears reasonable to us to do so, and unless we have reached a different
 agreement with you or received contrary instructions in writing from you. We have discretion to
 retain elements of a file in the Firm's records as forms or otherwise. The File Retention Policy
 has special provisions regarding original executed estate planning documents such as wills,
 trusts, or powers of attorney. We will retain such documents indefinitely, and will deliver them
 to you at any time on your written request, subject to your compliance with the terms of this
 letter. Original estate planning documents that have been superseded or have otherwise become
 ineffective may be destroyed in our discretion or at your request.

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 Very Reverend David L. Danneker
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          Communications. The Firm regularly communicates with its clients and with third
 parties, on behalf of its clients, through the use of landline, digital and cellular telephones,
 unencrypted email and facsimile machines. Each of these means of communication is practically
 and technologically susceptible to varying risks of interception by (or misdelivery to) unintended
 recipients. By executing this Agreement, you consent to the Firm's utilization of the foregoing
 means of communication. In addition, we are often asked, in a marketing context, to identify
 clients of the Firm. Although we will not disclose privileged or confidential information
 regarding you or our representation of your interests, unless you advise us to the contrary, the
 Firm will assume that you authorize us to identify you as a client of the Firm in our brochures, on
 our website and in other written materials used to market the Firm's services.

        Miscellaneous. This Agreement and any right or claim arising from our engagement
 may not be transferred or assigned by the Diocese of Harrisburg without the Firm's prior written
 consent. In addition, you agree that the Firm may consult with its internal counsel about the
 Firm's duties and obligations to the Diocese of Harrisburg and any such communications will be
 considered privileged as between the Firm and such internal counsel.

        If you are in agreement with the foregoing, please execute and return to me a copy of this
 Agreement. Upon execution of this Agreement by the Firm and you, this Agreement will
 supersede all prior understandings regarding our engagement and will constitute a binding
 agreement between the Firm and you effective as of the date that we first provided legal services
 on the Diocese of Harrisburg's behalf. This Agreement shall be governed by and construed in
 accordance with the Professional Rules and the substantive law of the Commonwealth of
 Pennsylvania.

         We are pleased to have the opportunity to be of service to you. If you have any questions
 concerning this Agreement or anything else about our representation either now or in the future,
 please contact me.

                                                 Very truly yours,


                                             l
                                                 MATTHEW H. HAVERSTICK

 cc: Terrence J. Kerwin, Solicitor
     Diocese of Harrisburg




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 Very Reverend David L. Danneker
 September 25, 2018
 Page 4




 Acknowledged and Agreed as of
 the Date First Above Written:

 DIOCESE OF HARRISBURG


 By?~{~
     Very Reverend David L. Danneker
     Vicar General and Moderator of the Curia




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Matthew H. Haverstick
mhaverstick@kleinbard.com
215.496.7225



                                                        KLEI NBARD            llC




                                                        October 10, 2018

      VIA HAND DELIVERY

      Private and Confidential

      Very Reverend David L. Danneker
      Vicar General and Moderator of the Curia
      Diocese of Harrisburg
      4800 Union Deposit Road
      Harrisburg, PA 17111-3710
      frddanneker@ hbgdiocese.org


      RE:       Engagement for Legal Services

      Dear Fr. David Danneker:

              I would like to thank you for engaging Kleinbard LLC ("we", "us" or the "Firm") to
      represent the Diocese of Harrisburg (the "Diocese of Harrisburg" , the "Client" or ''you") in the
      matters discussed below. In accordance with the Rules of Professional Conduct governing
      attorneys in the Commonwealth of Pennsylvania (the "Professional Rules"), this letter
      agreement (this "Agreement") confirms our engagement and sets forth our fee arrangement with
      you in connection with these matters and, unless otherwise agreed, any other matters for which
      the Firm may render legal services to the Diocese of Harrisburg.

              Scope of Representation and Limitations Thereon. You have en
      represent the Diocese of Harrisburg in connection with a
                     We do not represent any person or entity that has not been specifically identified
      in this Agreement as a client and no duties have been undertaken or assumed for any such person
      or entity .

              Fees. You have agreed to compensate the Firm at our prevailing hourly rates for the
      legal services rendered by our attorneys or paralegals. These rates vary for each attorney and
      paralegal based upon experience and years of practice. Our current hourly rates for attorneys
      range from $285 to $715 and are adjusted from time to time, usually annually, but we anticipate
      that they will remain in effect throughout 2018. Mark E. Seiberling and I will have overall
      responsibility for this engagement and our representation of the Diocese of Harrisburg, each at
      an hourly rate of $425; along with our associate Joshua J. Voss, at an hourly rate of$360. In
      addition, the Firm will utilize the services of other attorneys and paralegals where, in our
      discretion, we determine that it is in your best interest.

      {0 1537233 ;vl )



One Liberty Place, 46th Floor   1650 Market Street   Philadelphia, PA 19103   T: 215.568.2000   F: 215 .568.0140   Klein bard.com
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         Costs and Expenses. You have also agreed to pay the Firm for all related costs and
 expenses that the Firm incurs (e.g. , database searching and retrieval charges, filing fees, courier
 services, transcription services, facsimile charges, duplication charges). Please note that the
 Firm has the right, but not the obligation, to advance costs on your behalf. In addition, please
 keep in mind that billing for certain of these costs and expenses may lag the rendering or use of
 the underlying services because of delays in the receipt of third-party bills and the posting of
 accounts. Fees and expenses of other professionals engaged by the Firm on your behalf (e.g.,
 consultants, appraisers, local counsel) generally will not be paid by the Firm, but will be billed
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         Billing Statements. The Firm will submit written billing statements to you, usually
 monthly, for legal services rendered (and costs and expenses incurred) during the period covered
 by such statement, with payment in full of the total balance due twenty (20) days after the date of
 such statement (even if you have remitted to us any advance retainers as discussed below). We
 ask that you review our billing statements promptly upon receipt and advise us immediately if
 there are any questions about them, so that we can investigate and respond to such questions
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 explanatory and satisfactory. The Firm does not currently charge interest to clients and, in order
 to permit us to continue this policy, we expect all of our clients to keep their payments current.
 If payments are not kept current, we may require that you deliver to us additional advance
 retainers prior to performing additional work. If you fail to keep payments current or to pay
 promptly any such retainers, the Firm reserves the right to withdraw from our representation.
 Notwithstanding any such withdrawal, you will remain obligated to pay to the Firm any and all
 outstanding amounts due and owing to the Firm pursuant to the terms of this Agreement.

          File Retention. The Firm has a file retention policy that will apply to any files ,
 documents, or other information, in any media, received, created, or stored by us in connection
 with our representation of you (the "File Retention Policy"). You acknowledge and consent to
 the File Retention Policy, as it may be amended from time to time, including the elements
 described in this paragraph. At the Firm' s discretion, certain documents or information may be
 retained as electronic data or in other storage media both before and after closure of a file. In
 general, at the conclusion of a matter the Firm will close a file and transfer it to long-term
 storage, and may destroy such file after a period specified in the policy (currently seven years) if
 at such time it appears reasonable to us to do so, and unless we have reached a different
 agreement with you or received contrary instructions in writing from you. We have discretion to
 retain elements of a file in the Firm ' s records as forms or otherwise. The File Retention Policy
 has special provisions regarding original executed estate planning documents such as wills,
 trusts, or powers of attorney . We will retain such documents indefinitely, and will deliver them
 to you at any time on your written request, subject to your compliance with the terms of this
 letter. Original estate planning documents that have been superseded or have otherwise become
 ineffective may be destroyed in our discretion or at your request.

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         Communications. The Firm regularly communicates with its clients and with third
 parties, on behalf of its clients, through the use of landline, digital and cellular telephones,
 unencrypted email and facsimile machines . Each of these means of communication is practically
 and technologically susceptible to varying risks of interception by ( or misdelivery to) unintended
 recipients. By executing this Agreement, you consent to the Firm's utilization of the foregoing
 means of communication. In addition, we are often asked, in a marketing context, to identify
 clients of the Firm. Although we will not disclose privileged or confidential information
 regarding you or our representation of your interests, unless you advise us to the contrary, the
 Firm will assume that you authorize us to identify you as a client of the Firm in our brochures, on
 our website and in other written materials used to market the Firm's services.

          Miscellaneous. This Agreement and any right or claim arising from our engagement
 may not be transferred or assigned by the Diocese of Harrisburg without the Firm's prior written
 consent. In addition, you agree that the Firm may consult with its internal counsel about the
 Firm ' s duties and obligations to the Diocese of Harrisburg and any such communications will be
 considered privileged as between the Firm and such internal counsel.

        If you are in agreement with the foregoing, please execute and return to me a copy of this
 Agreement. Upon execution of this Agreement by the Firm and you, this Agreement will
 supersede all prior understandings regarding our engagement and will constitute a binding
 agreement between the Firm and you effective as of the date that we first provided legal services
 on the Diocese of Harrisburg' s behalf. This Agreement shall be governed by and construed in
 accordance with the Professional Rules and the substantive law of the Commonwealth of
 Pennsylvania.

         We are pleased to have the opportunity to be of service to you. If you have any questions
 concerning this Agreement or anything else about our representation either now or in the future ,
 please contact me.




 cc: Terrence J. Kerwin, Solicitor
     Diocese of Harrisburg




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 Very Reverend David L. Danneker
 October 10, 2018
 Page 4



 Acknowledged and Agreed as of
 the Date First Above Written:

 DIOCESE OF HARRISBURG


 By 2~ t ~
      Very Reverend David L. Danneker
      Vicar General and Moderator of the Curia




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Matthew H . Haverstick
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2 15.496. 7225



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                                                          KLEINBARD m

                                                          November 5, 20 18

      VIA HAND DELIVERY

      Private and Co11.fidential

      Very Reverend David L. Danneker
      Vicar General and Moderator of the Curia
      Diocese of Harrisburg
      4800 Union Deposit Road
      Harrisburg, PA 1711 1-3710
      frddanneker@hbgdiocese.org


      RE:      Engagement for Legal Services

      Dear Fr. David Danneker:

              I would like to thank you for engaging Kleinbard LLC (" we", "us" or the "Firm") to
      represent the Diocese of Harrisburg (the "Diocese of Harrisburg", the "Client' or '-you") in the
      matters discussed below. In accordance with the Rules of Professional Conduct governing
      attorneys in the Commonwealth of Pennsylvania (the "Professional Rules"), this letter
      agreement (this ·'Agreement') confirms our engagement and sets forth our fee arrangement with
      you in connection with these matters and, unless otherwise agreed, any other matters for which
      the Firm may render legal services to the Diocese of Harrisburg.

              Scope of Representation and Limitations Thereon. You have engaged the Firm to
      represent the Diocese of Harrisburg in connection with the creation, operation and monitoring of
      a victims' compensation fund. We do not represent any person or entity that has not been
      specifically identified in this Agreement as a client and no duties have been undertaken or
      assumed for any such person or entity.

               Fees. You have agreed to compensate the Firm at our prevailing hourly rates for the
      legal services rendered by our attorneys or paralegals. These rates vary for each attorney and
      paralegal based upon experience and years of practice. Our current hourly rates for attorneys
      range from $285 to $7 15 and are adjusted fro m time to time, usually annually, but we anticipate
      that they will remain in effect throughout 2018. Mark E. Seiberling and I will have overall
      responsibility for this engagement and our representation of the Diocese of Harrisburg, each at
      an hourly rate of $425; along with our associate Joshua J. Voss, at an hourly rate of $360. No
      other attorney will bill at a rate higher than $425. In addition, the Firm will utilize the services
      of other attorneys and paralegals where, in our discretion, we determine that it is in your best
      interest.
      101606565;v l I


Three Logan Square      1717 Arch Street, 5th Floor   Philad<'lphia, PA 19103   ·1: 215.568.2000   I·: 21 5 .568.01-10   ls'.lci nbartl.~om

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 Very Reverend David L. Danneker
 November 5, 2018
 Page 2



         Costs and Expenses. You have also agreed to pay the Firm for all related costs and
 expenses that the Firm incurs (e.g., database searching and retrieval charges, filing fees, courier
 services, transcription services, facsimile charges, duplication charges). Please note that the
 Firm has the right, but not the obligation, to advance costs on your behalf. In addition, please
 keep in mind that billing for certain of these costs and expenses may lag the rendering or use of
 the underlying services because of delays in the receipt of third-party bills and the posting of
 accounts. Fees and expenses of other professionals engaged by the Firm on your behalf (e.g.,
 consultants, appraisers, local counsel) generally will not be paid by the Firm, but will be billed
 directly to you.

        Billing Statements. The Firm will submit written billing statements to you, usually
monthly, for legal services rendered (and costs and expenses incurred) during the period covered
by such statement, with payment in full of the total balance due twenty (20) days after the date of
such statement (even ifyou have remitted to us any advance retainers as discussed below). We
ask that you review our billing statements promptly upon receipt and advise us immediately if
there are any questions about them, so that we can investigate and respond to such questions
while memories remain fresh. If a billing statement is not questioned by the time payment
becomes due, we will rely upon our understanding that the amount and details of the bill are self-
explanatory and satisfactory. The Firm does not cunently charge interest to clients and, in order
to permit us to continue this policy, we expect all of our clients to keep their payments current.
If payments are not kept current, we may require that you deliver to us additional advance
retainers prior to performing additional work. If you fail to keep payments current or to pay
promptly any such retainers, the Firm reserves the right to withdraw from our representation.
Notwithstanding any such withdrawal, you will remain obligated to pay to the Firm any and all
outstanding amounts due and owing to the Firm pursuant to the terms of this Agreement.

         File Retention. The Firm has a file retention policy that will apply to any files,
 documents, or other information, in any media, received, created, or stored by us in connection
 with our representation of you (the "File Retention Policy"). You acknowledge and consent to
 the File Retention Policy, as it may be amended from time to time, including the elements
described in this paragraph. At the Firm's discretion, certain documents or information may be
 retained as electronic data or in other storage media both before and after closure of a file. In
general, at the conclusion of a matter the Firm will close a file and transfer it to long-term
storage, and may destroy such file after a period specified in the policy (cunently seven years) if
at such time it appears reasonable to us to do so, and unless we have reached a different
agreement with you or received contrary instructions in writing from you. We have discretion to
retain elements of a file in the Firm's records as forms or otherwise. The File Retention Policy
has special provisions regarding original executed estate planning documents such as wills,
trusts, or powers of attorney. We will retain such documents indefinitely, and will deliver them
to you at any time on your written request, subject to your compliance with the terms of this
letter. Original estate planning documents that have been superseded or have otherwise become
ineffective may be destroyed in our discretion or at your request.

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 Very Reverend David L. Danneker
 November 5, 2018
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         Communications. The Firm regularly communicates with its clients and with third
 parties, on behalf of its clients, through the use of landline, digital and cellular telephones,
 unencrypted email and facsimi le machines. Each of these means of communication is practically
 and technologically susceptible to varying risks of interception by (or misdelivery to) unintended
 recipients. By executing this Agreement, you consent to the Firm's utilization of the foregoing
 means of communication. In addition, we are often asked, in a marketing context, to identify
 clients of the Firn1. Although we will not disclose privileged or confidential information
 regarding you or our representation of your interests, unless you advise us to the contrary, the
 Firm will assume that you authorize us to identify you as a client of the Firm in our brochures, on
 our website and in other written materials used to market the Firm's services.

         Miscellaneous. This Agreement and any right or claim arising from our engagement
 may not be transferred or assigned by the Diocese of Harrisburg without the Firm's prior written
 consent. In addition, you agree that the Firm may consult with its internal counsel about the
 Fim1 's duties and obligations to the Diocese of Harrisburg and any such communications will be
 considered privileged as between the Firm and such internal counsel.

       If you are in agreement with the foregoing, please execute and return to me a copy of this
Agreement. Upon execution of this Agreement by the Firm and you, this Agreement will
supersede all prior understandings regarding our engagement and will constitute a binding
agreement between the Firm and you effective as of the date that we first provided legal services
on the Diocese of Harrisburg's behalf This Agreement shall be governed by and construed in
accordance with the Professional Rules and the substantive law of the Commonwealth of
Pennsylvania.

        We are pleased to have the opportunity to be of service to you. If you have any questions
concerning this Agreement or anything else about our representation either now or in the future,
please contact me.




cc: Terrence J. Kerwin, Solicitor
    Diocese of Harrisburg




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 Very Reverend David L. Danneker
 November 5, 2018
 Page4




 Acknowledged and Agreed as of
 the Date First Above Written:

 DIOCESE OF HARRJSBURG


 By:2~ [ ~~~~~
       Very Reverend David L. Danneker
       Vicar General and Moderator of the Curia




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;\L\'ITI IEW    H.   Hr\ \'ERSTICK
Ml 1,\ \'FRSTICK@KUJNB.\ RD.COM
 Direct Dial 2 I 5.496. 7225




                                            January 15, 2019

VIA EMAIL

Private and Confidential

Very Reverend David L. Danneker
Vicar General and Moderator of the Curia
Diocese of Harrisburg
4800 Union Deposit Road
Harrisburg,PA 17111-3710
frddanneker@hbgdiocese.org

RE:      Engagement for Legal Services

 Dear Fr. David Danneker:

        I would like to thank you for engaging Kleinbard LLC ("we", "us" or the "Firm") to
represent the Diocese of Harrisburg (the "Diocese of Harrisburg", the "Client" or "you") in the
matters discussed below. In accordance with the Rules of Professional Conduct governing
attorneys in the Commonwealth of Pennsylvania (the "Professional Rules"), this letter
agreement (this "Agreement") confirms our engagement and sets forth our fee arrangement with
you in connection with these matters and, unless otherwise agreed, any other matters for which
the Firm may render legal services to the Diocese of Harrisburg.

        Scope of Representation and Limitations Thereon. You have engaged the Firm to
represent the Diocese of Harrisburg in connection with a civil action filed by Daniel Hillanbrand
and Leeanne Natali. We do not represent any person or entity that has not been specifically
identified in this Agreement as a client and no duties have been undertaken or assumed for any
such person or entity.

         Fees. You have agreed to compensate the Firm at our prevailing hourly rates for the
legal services rendered by our attorneys or paralegals. These rates vary for each attorney and
paralegal based upon experience and years of practice. Our current hourly rates for attorneys
range from $295 to $735 and are adjusted from time to time, usually annually, but we anticipate
that they will remain in effect throughout 2019. Mark E. Seiberling and I will have overall
responsibi Iity for th is engagement and our representation of the Diocese of Harrisburg, each at
an hourly rate of $425; along with our associate Joshua J. Voss, at an hourly rate of $360. No
other attorney will bill at a rate higher than $425. In addition, the Firm will utilize the services
of other attorneys and paralegals where, in our discretion, we determine that it is in your best
interest.

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Very Reverend David L. Danneker
January 15, 2019
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        Costs and Expenses. You have also agreed to pay the Firm for all related costs and
expenses that the Firm incurs (e.g., database searching and retrieval charges, filing fees, courier
services, transcription services, facsimile charges, duplication charges). Please note that the
Firm has the right, but not the obligation, to advance costs on your behalf. In addition, please
keep in mind that billing for certain of these costs and expenses may lag the rendering or use of
the underlying services because of delays in the receipt of third-party bills and the posting of
accounts. Fees and expenses of other professionals engaged by the Firm on your behalf (e.g.,
consultants, appraisers, local counsel) generally will not be paid by the Firm, but will be billed
directly to you.

        Billing Statements. The Firm will submit written billing statements to you, usually
monthly, for legal services rendered (and costs and expenses incurred) during the period covered
by such statement, with payment in full of the total balance due twenty (20) days after the date of
such statement (even ifyou have remitted to us any advance retainers as discussed below). We
ask that you review our billing statements promptly upon receipt and advise us immediately if
there are any questions about them, so that we can investigate and respond to such questions
while memories remain fresh. If a billing statement is not questioned by the time payment
becomes due, we will rely upon our understanding that the amount and details of the bill are self-
explanatory and satisfactory. The Firm does not currently charge interest to clients and, in order
to permit us to continue this policy, we expect all of our clients to keep their payments current.
If payments are not kept current, we may require that you deliver to us additional advance
retainers prior to performing additional work. If you fail to keep payments current or to pay
promptly any such retainers, the Firm reserves the right to withdraw from our representation.
Notwithstanding any such withdrawal, you will remain obligated to pay to the Firm any and all
outstanding amounts due and owing to the Firm pursuant to the terms of this Agreement.

         File Retention. The Firm has a file retention policy that will apply to any files,
documents, or other information, in any media, received, created, or stored by us in connection
with our representation of you (the "File Retention Policy"). You acknowledge and consent to
the File Retention Policy, as it may be amended from time to time, including the elements
described in this paragraph. At the Firm's discretion, certain documents or information may be
retained as electronic data or in other storage media both before and after closure of a file. In
general, at the conclusion of a matter the Firm will close a file and transfer it to long-term
storage, and may destroy such file after a period specified in the policy (currently seven years) if
at such time it appears reasonable to us to do so, and unless we have reached a different
agreement with you or received contrary instructions in writing from you. We have discretion to
retain elements of a file in the Firm's records as forms or otherwise. The File Retention Policy
has special provisions regarding original executed estate planning documents such as wills,
trusts, or powers of attorney. We will retain such documents indefinitely, and will deliver them
to you at any time on your written request, subject to your compliance with the terms of this
letter. Original estate planning documents that have been superseded or have otherwise become
ineffective may be destroyed in our discretion or at your request.


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Very Reverend David L. Danneker
January 15, 2019
Page 3




         Communications. The Firm regularly communicates with its clients and with third
parties, on behalf of its clients, through the use of land line, digital and cellular telephones,
unencrypted email and facsimile machines. Each of these means of communication is practically
and technologically susceptible to varying risks of interception by (or misdelivery to) unintended
recipients. By executing this Agreement, you consent to the Firm's utilization of the foregoing
means of communication. In addition, we are often asked, in a marketing context, to identify
clients of the Firm. Although we will not disclose privileged or confidential information
regarding you or our representation of your interests, unless you advise us to the contrary, the
Firm will assume that you authorize us to identify you as a client of the Firm in our brochures, on
our website and in other written materials used to market the Firm's services.

       Miscellaneous. This Agreement and any right or claim arising from our engagement
may not be transferred or assigned by the Diocese of Harrisburg without the Firm's prior written
consent. In addition, you agree that the Firm may consult with its internal counsel about the
Firm's duties and obligations to the Diocese of Harrisburg and any such communications will be
considered privileged as between the Firm and such internal counsel.

       If you are in agreement with the foregoing, please execute and return to me a copy of this
Agreement. Upon execution of this Agreement by the Firm and you, this Agreement will
supersede all prior understandings regarding our engagement and will constitute a binding
agreement between the Firm and you effective as of the date that we first provided legal services
on the Diocese of Harrisburg's behalf. This Agreement shall be governed by and construed in
accordance with the Professional Rules and the substantive law of the Commonwealth of
Pennsylvania.

        We are pleased to have the opportunity to be of service to you. If you have any questions
concerning this Agreement or anything else about our representation either now or in the future,
please contact me.

                                                Very truly yours,



                                            l
                                                MATTHEW H. HAVERSTICK

cc: Terrence J. Kerwin, Solicitor
    Diocese of Harrisburg




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Very Reverend David L. Danneker
January 15, 2019
Page 4



Acknowledged and Agreed as of
the Date First Above Written:

 DIOCESE OF HARRISBURG


 By:2-~~ t~~
     Very Reverend David L. Danneker
     Vicar General and Moderator of the Curia




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Matthew H. Haverstick
mhaverstick@kleinbard.com
215.496.7225



                                                        KLEINBARDuc

      July 26, 2019

      VIA EMAIL

     Private and Confidential

      Very Reverend David L. Danneker
      Vicar General and Moderator of the Curia
      Diocese of Harrisburg
      4800 Union Deposit Road
      Harrisburg, PA 17111-3710
      frddanneker@hbgdiocese.org

      RE:     Engagement for Legal Services--Updated

      Dear Fr. David Danneker:

            I would like to thank you for engaging Kleinbard LLC ("we", "us" or the "Firm") to
     represent the Diocese of Harrisburg (the "Diocese", the "Client" or ''you") in the matters
     discussed below. In accordance with the Rules of Professional Conduct governing attorneys in
     the Commonwealth of Pennsylvania (the "Professional Rules"), this letter agreement (this
     ''Agreement") confirms our engagement and sets forth our fee arrangement with you in
     connection with these matters and, unless otherwise agreed, any other matters for which the Firm
     may render legal services to the Diocese.

             Scope of Representation and Limitations Thereon. You have engaged the Firm to
      represent the Diocese in connection with the following:

          •   advice and support for seeking insurance coverage from various current and historical
              insurers of the Diocese;

                                                                                                                   ey


          •   advice and support for various internal

          •   advice and support for the Diocese's Survivor Compensation Program;

          •   the litigation captioned Doe v. Allen;

          •   the litigation captioned O'Connor v. Roman Catholic Diocese ofPittsburgh;




Three Logan Square   1717 Arch Street, 5th Floor   Philadelphia, PA 19103   T: 215.568.2000   F: 215.568,0140   Klein bard.com

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 Very Reverend David L. Danneker
 July 26, 2019
 Page 2



     •   the litigation captioned, Hillanbrand v. Pennsylvania Catholic Conference;

     •   the litigation captioned, As bee v. Diocese of Harrisburg;

     •   the threatened litigation by various claimants, former claimants, and potential claimants
         of the Survivor Compensation Program; and

     •   advice and support for potential or actual bankruptcy filings and litigation by the Diocese.

 We do not represent any person or entity that has not been specifically identified in this
 Agreement as a client and no duties have been undertaken or assumed for any such person or
 entity.

         Fees. Unless otherwise specified below, you have agreed to compensate the Firm at our
 prevailing hourly rates for the legal services rendered by our attorneys or paralegals. These rates
 vary for each attorney and paralegal based upon experience and years of practice. Our current
 hourly rates for attorneys range from $295 to $735 and are adjusted from time to time, usually
 annually, but we anticipate that they will remain in effect throughout 2019.

        However, the following specific hourly rates shall apply to the time worked by each
 attorney listed, with the exception of the Doe v. Allen matter, which is separately addressed
 below:

     •   Matthew H. Haverstick: $425;

     •   Mark E. Seiberling: $425;

     •   Joshua J. Voss: $385;

     •   Eric J. Schreiner: $415;

     •   Steven J. Engelmyer: $415; and

     •   Paul G. Gagne: $400.

 In the Doe v. Allen matter, all attorneys shall bill at an hourly rate of $250.

         Finally, the Firm will utilize the services of other attorneys and paralegals where, in our
 discretion, we determine that it is in your best interest.

         Costs and Expenses. You have also agreed to pay the Firm for all related costs and
 expenses that the Firm incurs (e.g., database searching and retrieval charges, filing fees, courier
 services, transcription services, facsimile charges, duplication charges). Please note that the Firm




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 Very Reverend David L. Danneker
 July 26, 2019
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 has the right, but not the obligation, to advance costs on your behalf. In addition, please keep in
 mind that billing for certain of these costs and expenses may lag the rendering or use of the
 underlying services because of delays in the receipt of third-party bills and the posting of
 accounts. Fees and expenses of other professionals engaged by the Firm on your behalf (e.g.,
 consultants, appraisers, local counsel) generally will not be paid by the Firm, but will be billed
 directly to you.

         Billing Statements. The Firm will submit written billing statements to you, usually
 monthly, for legal services rendered (and costs and expenses incurred) during the period covered
 by such statement, with payment in full of the total balance due twenty (20) days after the date of
 such statement (even if you have remitted to us any advance retainers as discussed below). We
 ask that you review our billing statements promptly upon receipt and advise us immediately if
 there are any questions about them, so that we can investigate and respond to such questions
 while memories remain fresh. If a billing statement is not questioned by the time payment
 becomes due, we will rely upon our understanding that the amount and details of the bill are self-
 explanatory and satisfactory. The Firm does not currently charge interest to clients and, in order
 to permit us to continue this policy, we expect all of our clients to keep their payments current. If
 payments are not kept current, we may require that you deliver to us additional advance retainers
 prior to performing additional work. If you fail to keep payments current or to pay promptly any
 such retainers, the Firm reserves the right to withdraw from our representation. Notwithstanding
 any such withdrawal, you will remain obligated to pay to the Firm any and all outstanding
 amounts due and owing to the Firm pursuant to the terms of this Agreement.

         Retainers. As we discussed, you have agreed to remit to the Firm a retainer in the
 amount of $60,000. Any retainers paid to the Firm will be placed in the Firm's escrow account
 and will be held by us until the conclusion of our representation. At our discretion, we may apply
 the amount of some or all of the retainer against the fees for legal services rendered by the Firm
 to the Diocese. If you direct us that our representation of you has concluded, we will deliver the
 balance of the retainer to you, without interest, less any then due fees and expenses. Upon the
 conclusion of our representation, you will remain liable for all outstanding fees for legal services
 rendered by the Firm, and all outstanding costs and expenses incurred by the Firm in connection
 therewith.

         File Retention. The Firm has a file retention policy that will apply to any files,
 documents, or other information, in any media, received, created, or stored by us in connection
 with our representation of you (the "File Retention Policy"). You acknowledge and consent to
 the File Retention Policy, as it may be amended from time to time, including the elements
 described in this paragraph. At the Firm's discretion, certain documents or information may be
 retained as electronic data or in other storage media both before and after closure of a file. In
 general, at the conclusion of a matter the Firm will close a file and transfer it to long-term
 storage, and may destroy such file after a period specified in the policy (currently seven years) if
 at such time it appears reasonable to us to do so, and unless we have reached a different




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 Very Reverend David L. Danneker
 July 26, 2019
 Page4



 agreement with you or received contrary instructions in writing from you. We have discretion to
 retain elements of a file in the Firm's records as forms or otherwise. The File Retention Policy
 has special provisions regarding original executed estate planning documents such as wills,
 trusts, or powers of attorney. We will retain such documents indefinitely, and will deliver them
 to you at any time on your written request, subject to your compliance with the terms of this
 letter. Original estate planning documents that have been superseded or have otherwise become
 ineffective may be destroyed in our discretion or at your request.

         Communications. The Firm regularly communicates with its clients and with third
 parties, on behalf of its clients, through the use of landline, digital and cellular telephones,
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 Firm will assume that you authorize us to identify you as a client of the Firm in our brochures, on
 our website and in other written materials used to market the Firm's services.

         Miscellaneous. This Agreement and any right or claim arising from our engagement may
 not be transferred or assigned by the Diocese of Harrisburg without the Firm's prior written
 consent. In addition, you agree that the Firm may consult with its internal counsel about the
 Firm's duties and obligations to the Diocese of Harrisburg and any such communications will be
 considered privileged as between the Firm and such internal counsel.

         If you are in agreement with the foregoing, please execute and return to me a copy of this
 Agreement (together with the retainer referred to above). Upon execution of this Agreement by
 the Firm and you, this Agreement will supersede all prior understandings regarding our
 engagement and will constitute a binding agreement between the Firm and you effective as of the
 date that we first provided legal services on the Diocese of Harrisburg's behalf. This Agreement
 shall be governed by and construed in accordance with the Professional Rules and the
 substantive law of the Commonwealth of Pennsylvania.




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 Very Reverend David L. Danneker
 July 26, 2019
 Page 5



         We are pleased to have the opportunity to be of service to you. If you have any questions
 concerning this Agreement or anything else about our representation either now or in the future,
 please contact me.

                                              Very truly yours,



                                              MATTHEW H. HAVERSTICK

 cc: Terrence J. Kerwin, Solicitor
      Diocese of Harrisburg

 Aclawwledged and Agreed as of
 the Date First Above Written:

 DIOCESE OF HARRISBURG


 By:'.1~lJ'.S~
    Very Reverend David L. Danneker
    Vicar General and Moderator of the Curia




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       ivlAnl-lEW H. H AVERSTI CK
       MH ,~VERSTTCK@KLETNRA RD .COM
       Direct Dial 215. 496. 722 5


                                                               LEINBARO u
       October 21, 2019

       VIA EMAIL

       Private and Confidential

       Very Reverend David L. Danneker
       Vicar General and Moderator of the Curia
       Diocese of Harrisburg
       4800 Union Deposit Road
       Harrisburg, PA 17111-3710
       frddanneker@hbgdiocese.org

       RE:      Engagement for Legal Services--Addendum

       Dear Fr. David Danneker:

               I would like to thank you for engaging Klein bard LLC ("we", "us" or the "Firm") to
       represent the Diocese of Harrisburg (the "Diocese" , the "Client" or "you") in the matter
       discussed below. In accordance with the Rules of Professional Conduct governing attorneys in
       the Commonwealth of Pennsylvania (the "Professional Rules"), this letter addendum agreement
       (this "Addendum Agreement") confirms our engagement for the additional matter set forth
       below, under the same terms and conditions as the agreement dated July 26, 2019 between the
       Firm and the Diocese (the "Agreement").

               Addendum to Scope of Representation and Limitations Thereon. In addition to the
       matters set forth in the Agreement, you have engaged the Firm to represent the Diocese in
       connection with the litigation captioned Duggan v. Diocese of Harrisburg. We do not represent
       any person or entity that has not been specifically identified in the Agreement or this Addendum
       Agreement as a client and no duties have been undertaken or assumed for any such person or
       entity.

               If you are in agreement with the foregoing, please execute and return to me a copy of this
       Addendum Agreement. Upon execution of this Addendum Agreement by the Firm and you, this
       Addendum Agreement will supersede all prior understandings regarding our engagement for the
       matter set forth above and will constitute a binding agreement between the Firm and you
       effective as of the date that we first provided legal services on the Diocese of Harrisburg' s
       behalf. This Addendum Agreement shall be governed by and construed in accordance with the
       Professional Rules and the substantive law of the Commonwealth of Pennsylvania.




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  Case 1:20-bk-00599-HWV                  Doc 55 Filed 02/24/20 Entered 02/24/20 16:41:46                               Desc
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  Very Reverend David L. Danneker
  October 21, 2019
  Page 2



          We are pleased to have the opportunity to be of service to you. If you have any questions
  concerning this Addendum Agreement or anything else about our representation either now or in
  the future , please contact me.

                                               Very truly yours,



                                               MATTHEW H. HAVERSTICK

  cc: Terrence J. Kerwin, Esq. (via email)

  Acknowledged and Agreed as of
  the Date First Above Written:

  DIOCESE OF HARRISBURG



   By.z~~t~
     Very Reverend DavidL.Danneker
     Vicar General and Moderator of the Curia




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         l\L\TIHEW H. H ,\VER:-.'TICK
         M~I,\ VERSTI CK@KLEJNBARD.CO M
         Direct Dial 215. 496. 7225

                                                                           KLEIN BARD.:
         December 2, 2019

         VIA EMAIL

         Private and Confidential

         Very Reverend David L. Danneker
         Vicar General and Moderator of the Curia
         Diocese of Harrisburg
         4800 Union Deposit Road
         Harrisburg, PA 17111-3710
         frddanneker@hbgdiocese.org

          RE: Engagement for Legal Services-Second Addendum

         Dear Fr. David Danneker:

                 J would like to thank you for engaging Kleinbard LLC ("we", "us" or the "Firm") to
         represent the Diocese of Harrisburg (the "Diocese", the "Client" or "you") in the matter
         discussed below. In accordance with the Rules of Professional Conduct governing attorneys in
         the Commonwealth of Pennsylvania (the "Professional Rules"), this letter addendum agreement
         (this "Second Addendum Agreement') confirms our engagement for the additional matter set
         forth below, under the same terms and conditions as the agreement dated July 26, 2019 between
         the Firm and the Diocese (the "Agreemenf').

                 Addendum to Scope of Representation and Limitations Thereon. In addition to the
         matters set forth in the Agreement, you have engaged the Firm to represent the Diocese in
         connection with the litigation filed in New Jersey by Patty Fortney-Julius and Lara Fortney-
         McKeever against the Diocese. We do not represent any person or entity that has not been
         specifically identified in the Agreement or this Second Addendum Agreement as a client and no
         duties have been undertaken or assumed for any such person or entity.

                If you are in agreement with the foregoing, please execute and return to me a copy of this
         Second Addendwn Agreement. Upon execution of this Second Addendum Agreement by the
         Firm and you, this Second Addendum Agreement will supersede all prior understandings
         regarding our engagement for the matter set forth above and will constitute a binding agreement
         between the Firm and you effective as of the date that we first provided legal services on the
         Diocese of Harrisburg's behalf. This Second Addendum Agreement shall be governed by and
         construed in accordance with the Professional Rules and the substantive law of the
         Commonwealth of Pennsylvania.




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                                                      Main Document   Page 65 of 88
  Very Reverend David L. Danneker
  December 3, 2019
  Page2




         We are pleased to have the opportunity to be of service to you. If you have any questions
  concerning this Second Addendum Agreement or anything else about our representation either
  now or in the future, please contact me.

                                              Very truly yours,



                                              MATTHEW H . HAVERSTICK

  cc: Terrence J. Kerwin, Esq. (via email)

 Acknowledged and Agreed as of
 the Date First Above Written ;

 DIOCESE OF HARRISBURG



 By2n~ ,~~                                    I\](   ),ci
     Very Reverend David L. Danneker
     Vicar General and Moderator of the Curia




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                                 EXHIBIT 1-B

                            ENGAGEMENT LETTER




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                         Main Document   Page 67 of 88
       MATTH EW H. H AVERSTICK
       MHAVERS'ITCK@KLEINBARD.COM
       Direct Dial 215.496. 7225


                                                              KlEINBARD llt
       February 1, 2020

       VIA EMAIL

       Private and Confidential

       Very Reverend David L. Danneker
       Vicar General and Moderator of the Curia
       Diocese of Harrisburg
       4800 Union Deposit Road
       Harrisburg, PA 17111 -3710
       frddanneker@hbgdiocese.org

       RE:      Engagement for Legal Services-Amended and Restated

       Dear Fr. David Danneker:

              I would like to thank you for engaging Kleinbard LLC ("we", "us" or the "Firm") to
       represent the Roman Catholic Diocese of Harrisburg (the "Diocese", the "Client' or ''you") in
       the matters discussed below. In accordance with the Rules of Professional Conduct governing
       attorneys in the Commonwealth of Pennsylvania (the "Professional Rules"), this letter amended
       and restated agreement (this "Agreement") confirms our engagement and sets forth our fee
       arrangement with you in connection with these matters and, unless otherwise agreed, any other
       matters for which the Firm may render legal services to the Diocese. This Agreement supersedes
       the agreement dated July 26, 2019 and the addendums thereto, dated October 21 , 2019, and
       December 2, 2019.

              Scope of Representation and Limitations Thereon. You have engaged the Firm to
       represent the Diocese in connection with the following:

            •    advice and support for seeking insurance coverage;

            •    criminal investigations;

            •    advice and support for various internal investigations;

            •    the litigation captioned Doe v. Allen;

            •    the litigation captioned O'Connor v. Roman Catholic Diocese of Pittsburgh;

            •    the litigation captioned As bee v. Diocese of Harrisburg;



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   Very Reverend David L. Danneker
   February 1, 2020
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      •    the threatened litigation by various claimants;

      •    advice and support for potential or actual bankruptcy filings and litigation by the
           Diocese;

      •    the litigation captioned Duggan v. Diocese of Harrisburg; and

      •    the litigation captioned Fortney-Julius v. Diocese of Harrisburg.

   We do not represent any person or entity that has not been specifically identified in this
   Agreement as a client and no duties have been undertaken or assumed for any such person or
   entity.

           Fees. Unless otherwise specified below, you have agreed to compensate the Firm at our
   prevailing hourly rates for the legal services rendered by our attorneys or paralegals. These rates
   vary for each attorney and paralegal based upon experience and years of practice. Our current
   hourly rates for attorneys range from $295 to $735 and are adjusted from time to time, usually
   annually, but we anticipate that they will remain in effect throughout 2020.

          However, the following specific hourly rates shall apply to the time worked by each
   attorney listed, with the exception of the Doe v. Allen matter, which is separately addressed
   below:

       •   Matthew H. Haverstick: $425;

       •   Mark E. Seiberling: $425;

       •   Joshua J. Voss: $400;

       •   Eric J. Schreiner: $415;

       •   Steven J. Engelmyer: $415; and

       •   Paul G. Gagne : $400.

   In the Doe v. Allen matter, all attorneys shall bill at an hourly rate of $250.

           Finally, the Firm will utilize the services of other attorneys and paralegals where, in our
   discretion, we determine that it is in your best interest.

           Costs and Expenses. You have also agreed to pay the Firm for all related costs and
   expenses that the Firm incurs (e.g., database searching and retrieval charges, filing fees, courier
   services, transcription services, facsimile charges, duplication charges). Please note that the Firm




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   has the right, but not the obligation, to advance costs on your behalf. In addition, please keep in
   mind that billing for certain of these costs and expenses may lag the rendering or use of the
   underlying services because of delays in the receipt of third-party bills and the posting of
   accounts. Fees and expenses of other professionals engaged by the Firm on your behalf (e.g.,
   consultants, appraisers, local counsel) generally will not be paid by the Firm, but will be billed
   directly to you.

           Billing Statements. The Firm will submit written billing statements to you, usually
   monthly, for legal services rendered (and costs and expenses incurred) during the period covered
   by such statement, with payment in full of the total balance due twenty (20) days after the date of
   such statement (even ifyou have remitted to us any advance retainers as discussed below). We
   ask that you review our billing statements promptly upon receipt and advise us immediately if
   there are any questions about them, so that we can investigate and respond to such questions
   while memories remain fresh. If a billing statement is not questioned by the time payment
   becomes due, we will rely upon our understanding .that the amount and details of the bill are self-
   explanatory and satisfactory. The Firm does not currently charge interest to clients and, in order
   to permit us to continue this policy, we expect all of our clients to keep their payments current. If
   payments are not kept current, we may require that you deliver to us additional advance retainers
   prior to performing additional work. If you fail to keep payments current or to pay promptly any
   such retainers, the Firm reserves the right to withdraw from our representation. Notwithstanding
   any such withdrawal, you will remain obligated to pay to the Firm any and all outstanding
   amounts due and owing to the Firm pursuant to the terms of this Agreement.

           Retainers. You have agreed to remit to the Firm a retainer in the amount of $60,000,
   which we have already received under the agreement dated July 26, 2019. Any retainers paid to
   the Firm will be placed in the Firm's escrow account and will be held by us until the conclusion
   of our representation. At our discretion, we may apply the amount of some or all of the retainer
   against the fees for legal services rendered by the Firm to the Diocese. If you direct us that our
   representation of you has concluded, we will deliver the balance of the retainer to you, without
   interest, less any then due fees and expenses. Upon the conclusion of our representation, you will
   remain liable for all outstanding fees for legal services rendered by the Firm, and all outstanding
   costs and expenses incurred by the Firm in connection therewith.

           File Retention. The Firm has a file retention policy that will apply to any files,
   documents, or other information, in any media, received, created, or stored by us in connection
   with our representation of you (the "File Retention Policy"). You acknowledge and consent to
   the File Retention Policy, as it may be amended from time to time, including the elements
   described in this paragraph. At the Firm's discretion, certain documents or information may be
   retained as electronic data or in other storage media both before and after closure of a file. In
   general, at the conclusion of a matter the Firm will close a file and transfer it to long-term
   storage, and may destroy such file after a period specified in the policy (currently seven years) if
   at such time it appears reasonable to us to do so, and unless we have reached a different




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   Very Reverend David L. Danneker
   February 1, 2020
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   agreement with you or received contrary instructions in writing from you. We have discretion to
   retain elements of a file in the Firm's records as forms or otherwise. The File Retention Policy
   has special provisions regarding original executed estate planning documents such as wills,
   trusts, or powers of attorney. We will retain such documents indefinitely, and will deliver them
   to you at any time on your written request, subject to your compliance with the terms of this
   letter. Original estate planning documents that have been superseded or have otherwise become
   ineffective may be destroyed in our discretion or at your request.

            Communications. The Firm regularly communicates with its clients and with third
   parties, on behalf of its clients, through the use of landline, digital and cellular telephones,
   unencrypted email and facsimile machines. Each of these means of communication is practically
   and technologically susceptible to varying risks of interception by (or misdelivery to) unintended
   recipients. By executing this Agreement, you consent to the Firm's utilization of the foregoing
   means of communication. In addition, we are often asked, in a marketing context, to identify
   clients of the Firm. Although we will not disclose privileged or confidential information
   regarding you or our representation of your interests, unless you advise us to the contrary, the
   Firm will assume that you authorize us to identify you as a client of the Firm in our brochures, on
   our website and in other written materials used to market the Firm's services.

           Miscellaneous. This Agreement and any right or claim arising from our engagement may
   not be transferred or assigned by the Diocese of Harrisburg without the Firm's prior written
   consent. In addition, you agree that the Firm may consult with its internal counsel about the
   Firm's duties and obligations to the Diocese of Harrisburg and any such communications will be
   considered privileged as between the Firm and such internal counsel.

           If you are in agreement with the foregoing, please execute and return to me a copy of this
   Agreement (together with the retainer referred to above). Upon execution of this Agreement by
   the Firm and you, this Agreement will supersede all prior understandings regarding our
   engagement and will constitute a binding agreement between the Firm and you effective as of the
   date that we first provided legal services on the Diocese of Harrisburg's behalf. This Agreement
   shall be governed by and construed in accordance with the Professional Rules and the
   substantive law of the Commonwealth of Pennsylvania.




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   Very Reverend David L. Danneker
   February 1, 2020
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           We are pleased to have the opportunity to be of service to you. If you have any questions
   concerning this Agreement or anything else about our representation either now or in the future,
   please contact me.

                                                Very truly yours,



                                                MATTHEW H. HAVERSTICK

   cc: Terrence J. Kerwin, Solicitor
        Diocese of Harrisburg

   Acknowledged and Agreed as of
   the Date First Above Written:

   DIOCESE OF HARRISBURG


   By:   4 ~ t,£\tu),~~
         Very Reverend David L. Danneker
         Vicar General and Moderator of the Curia




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                                         EXHIBIT 2

                                  PREPETITION PAYMENTS

                                Application
                                              Retainer
  Date             Payment      to Fees and              Narrative
                                              Balance
                                Expenses
  02/21/2019       $35,540.08   $35,540.08    $0.00      Payment for services billed
  02/21/2019       $3,356.32    $3,356.32     $0.00      Payment for services billed
  02/21/2019       $12,623.62   $12,623.62    $0.00      Payment for services billed
  02/21/2019       $693.75      $693.75       $0.00      Payment for services billed
  03/01/2019       $22,992.50   $22,992.50    $0.00      Payment for services billed
  03/01/2019       $93,127.56   $93,127.56    $0.00      Payment for services billed
  04/09/2019       $36,281.04   $36,281.04    $0.00      Payment for services billed
  04/09/2019       $42,063.50   $42,063.50    $0.00      Payment for services billed
  04/09/2019       $12,086.50   $12,086.50    $0.00      Payment for services billed
  04/09/2019       $20,443.89   $20,443.89    $0.00      Payment for services billed
  04/18/2019       $3,900.00    $3,900.00     $0.00      Payment for services billed
  04/29/2019       $5,195.31    $5,195.31     $0.00      Payment for services billed
  04/29/2019       $54,293.21   $54,293.21    $0.00      Payment for services billed
  04/29/2019       $7,178.27    $7,178.27     $0.00      Payment for services billed
  04/29/2019       $4,397.00    $4,397.00     $0.00      Payment for services billed
  04/29/2019       $11,489.50   $11,489.50    $0.00      Payment for services billed
  04/29/2019       $78,795.80   $78,795.80    $0.00      Payment for services billed
  07/03/2019       $49,455.75   $49,455.75    $0.00      Payment for services billed
  07/03/2019       $6,884.00    $6,884.00     $0.00      Payment for services billed
  07/03/2019       $1,050.00    $1,050.00     $0.00      Payment for services billed
  07/03/2019       $4,593.00    $4,593.00     $0.00      Payment for services billed
  07/03/2019       $12,292.55   $12,292.55    $0.00      Payment for services billed
  07/03/2019       $687.75      $687.75       $0.00      Payment for services billed
  08/02/2019       $3,348.00    $3,348.00     $0.00      Payment for services billed
  08/07/2019       $3,412.50    $3,412.50     $0.00      Payment for services billed
  08/07/2019       $938.03      $938.03       $0.00      Payment for services billed
  08/07/2019       $2,486.00    $2,486.00     $0.00      Payment for services billed
  08/07/2019       $2,061.97    $2,061.97     $0.00      Payment for services billed
  08/07/2019       $591.25      $591.25       $0.00      Payment for services billed
  08/07/2019       $1,450.00    $1,450.00     $0.00      Payment for services billed
  08/07/2019       $4,408.75    $4,408.75     $0.00      Payment for services billed
  08/07/2019       $4,732.08    $4,732.08     $0.00      Payment for services billed
  08/07/2019       $7,990.00    $7,990.00     $0.00      Payment for services billed
  08/07/2019       $9,510.00    $9,510.00     $0.00      Payment for services billed
  08/13/2019       $82,465.75   $82,465.75    $0.00      Payment for services billed
  08/13/2019       $17,500.00   $17,500.00    $0.00      Payment for services billed

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  08/13/2019       $5,591.25    $5,591.25    $0.00        Payment for services billed
  08/13/2019       $990.03      $990.03      $0.00        Payment for services billed
  08/13/2019       $416.25      $416.25      $0.00        Payment for services billed
  08/13/2019       $534.02      $534.02      $0.00        Payment for services billed
  08/13/2019       $10,000.00   $10,000.00   $0.00        Payment for services billed
  08/13/2019       $1,948.00    $1,948.00    $0.00        Payment for services billed
  09/25/2019       $14,793.09   $14,793.09   $0.00        Payment for services billed
  09/25/2019       $17,080.50   $17,080.50   $0.00        Payment for services billed
  09/25/2019       $711.70      $711.70      $0.00        Payment for services billed
  09/25/2019       $447.21      $447.21      $0.00        Payment for services billed
  09/25/2019       $6,308.36    $6,308.36    $0.00        Payment for services billed
  09/25/2019       $12,372.89   $12,372.89   $0.00        Payment for services billed
  09/27/2019       $60,000.00                $60,000.00   Retainer
  10/07/2019       $37,756.64   $37,756.64   $60,000.00   Payment for services billed
  10/22/2019       $46,156.00   $46,156.00   $60,000.00   Payment for services billed
  10/22/2019       $18,389.50   $18,389.50   $60,000.00   Payment for services billed
  10/22/2019       $6,403.45    $6,403.45    $60,000.00   Payment for services billed
  10/22/2019       $977.25      $977.25      $60,000.00   Payment for services billed
  10/22/2019       $53,526.13   $53,526.13   $60,000.00   Payment for services billed
  10/22/2019       $127.50      $127.50      $60,000.00   Payment for services billed
  10/22/2019       $31,752.89   $31,752.89   $60,000.00   Payment for services billed
  10/22/2019       $3,208.50    $3,208.50    $60,000.00   Payment for services billed
  11/15/2019       $3,485.64    $3,485.64    $60,000.00   Payment for services billed
  11/15/2019       $2,754.43    $2,754.43    $60,000.00   Payment for services billed
  11/15/2019       $3,526.37    $3,526.37    $60,000.00   Payment for services billed
  11/15/2019       $5,383.95    $5,383.95    $60,000.00   Payment for services billed
  11/15/2019       $25,077.25   $25,077.25   $60,000.00   Payment for services billed
  12/02/2019       $7,488.50    $7,488.50    $60,000.00   Payment for services billed
  12/02/2019       $1,920.25    $1,920.25    $60,000.00   Payment for services billed
  12/02/2019       $1,950.00    $1,950.00    $60,000.00   Payment for services billed
  12/02/2019       $2,126.00    $2,126.00    $60,000.00   Payment for services billed
  12/02/2019       $2,607.16    $2,607.16    $60,000.00   Payment for services billed
  12/02/2019       $4,369.03    $4,369.03    $60,000.00   Payment for services billed
  12/20/2019       $209.20      $209.20      $60,000.00   Payment for services billed
  12/20/2019       $1,660.00    $1,660.00    $60,000.00   Payment for services billed
  12/20/2019       $379.00      $379.00      $60,000.00   Payment for services billed
  12/20/2019       $371.30      $371.30      $60,000.00   Payment for services billed
  12/20/2019       $8,712.00    $8,712.00    $60,000.00   Payment for services billed
  12/20/2019       $5,779.00    $5,779.00    $60,000.00   Payment for services billed
  12/20/2019       $2,610.50    $2,610.50    $60,000.00   Payment for services billed
  12/20/2019       $22,603.75   $22,603.75   $60,000.00   Payment for services billed
  02/11/2020       $9,993.73    $9,993.73    $60,000.00   Payment for services billed
  02/11/2020       $14,641.83   $14,641.83   $60,000.00   Payment for services billed
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  02/11/2020       $1,913.75       $1,913.75       $60,000.00   Payment for services billed
  02/11/2020       $3,624.08       $3,624.08       $60,000.00   Payment for services billed
  02/11/2020       $7,194.90       $7,194.90       $60,000.00   Payment for services billed
  02/11/2020       $629.30         $629.30         $60,000.00   Payment for services billed
  02/11/2020       $21,052.00      $21,052.00      $60,000.00   Payment for services billed
  02/11/2020       $5,627.50       $5,627.50       $60,000.00   Payment for services billed
  02/11/2020       $1,533.00       $1,533.00       $60,000.00   Payment for services billed
  02/18/2020       $53,497.50      $53,497.50      $60,000.00   Payment for services billed
  02/19/2020       $7,206.50       $7,206.50       $52,793.50   Payment for services billed
  Totals at        $1,219,733.81   $1,159,733.81
  Petition
  Date




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                                                 SCHEDULE 2

                                          INTERESTED PARTIES

Debtor & Related Entities/Trusts

Roman Catholic Diocese of Harrisburg
Harrisburg Catholic Administrative Services, Inc.
Roman Catholic Diocese of Harrisburg Charitable Trust
Roman Catholic Diocese of Harrisburg Real Estate Trust
Roman Catholic Diocese of Harrisburg Irrevocable Trust
Foundation of Catholics United in Service
Pennsylvania Catholic Conference
Catholic Charities of the Diocese of Harrisburg, Pennsylvania. Inc.
Kolbe Catholic Publishing, Inc.

Deaneries, Parishes, and Missions

Adams Deanery, including the following parishes:
   Immaculate Heart of Mary Parish                                  Saint Vincent de Paul Parish
   Saint Joseph the Worker Parish                                   Saint Aloysius Parish
   Basilica of the Sacred Heart Parish                              Annunciation of the Blessed Virgin Mary Parish
   Saint Francis Xavier Parish                                      Immaculate Conception of the Blessed Virgin
   Saint Joseph Parish                                               Mary Parish

Cumberland/Perry Deanery, including the following parishes:
   Good Shepherd Parish                                             Saint Katharine Drexel Parish
   Saint Patrick Parish                                             Saint Elizabeth Ann Seton Parish
   Saint Bernadette Mission Parish                                  Saint Joseph Parish
   Our Lady of Lourdes Parish                                       Saint Bernard Parish
   Our Lady of Good Counsel Parish                                  Saint Theresa of the Infant Jesus Parish

Dauphin Deanery, including the following parishes:
   Saint Matthew the Apostle Parish                                 Saint Joan of Arc Parish
   Cathedral Parish of Saint Patrick Parish                         Sacred Heart of Jesus Parish
   Holy Family Parish                                               Seven Sorrows of the Blessed Virgin Mary
   Holy Name of Jesus Parish                                         Parish
   Our Lady of the Blessed Sacrament Parish                         Saint Jude Thaddeus Parish
   Saint Catherine Labouré Parish                                   Queen of Peace Parish
   Saint Francis of Assisi Parish                                   Prince of Peace Parish
   Saint Margaret Mary Alacoque Parish

Franklin Deanery, including the following parishes:
   Saint Rita Parish                                                Saint Mark the Evangelist Parish
   Saint Ignatius Parish                                            Saint Luke the Evangelist Mission
   Corpus Christi Parish                                            Our Lady of the Visitation Parish
   Our Lady of Refuge Mission                                       Saint Andrew the Apostle Parish
   Immaculate Conception of the Blessed Virgin
    Mary Parish

Lebanon Deanery, including the following parishes:
   Saint Paul the Apostle Parish                                    Sacred Heart of Jesus Parish



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   Our Lady of Fatima Mission                            Saint Cecilia Parish
   Assumption of the Blessed Virgin Mary Parish          Mary, Gate of Heaven Parish
   Saint Benedict the Abbot Parish                       Holy Spirit Parish

North Lancaster Deanery, including the following parishes:
   Holy Trinity Parish                                   Saint James Parish
   Saint Peter Parish                                    Saint Richard Parish
   Saint Peter Parish                                    Mary, Mother of the Church Parish
   Our Mother of Perpetual Help Parish                   Our Lady of Lourdes Parish

Northern Deanery, including the following parishes:
   Christ the King Mission                               Saint Joseph Parish
   Immaculate Conception of the Blessed Virgin           Sacred Heart of Jesus Parish
    Mary Parish                                           Saint George Mission
   Saint Joseph Parish                                   Saint Joseph Parish
   Saint Columba Parish                                  Saint Pius X Parish
   Our Lady of Mercy Parish                              Saint Monica Parish

Northumberland Deanery, including the following parishes:
   Our Lady of Hope Parish                               Our Lady of Mount Carmel Parish
   Queen of the Most Holy Rosary Parish                  Mother Cabrini Parish
   Holy Angels Parish                                    Saint Patrick Parish
   Our Lady Help of Christians Parish                    Sacred Heart of Jesus Mission Parish
   Divine Redeemer Parish

South Lancaster Deanery, including the following parishes:
   Assumption of the Blessed Virgin Mary Parish          Saint Joseph Parish
   Sacred Heart of Jesus Parish                          Saint Leo the Great Parish
   Saint Anne Parish                                     Saint Philip the Apostle Parish
   Saint Anthony of Padua Parish                         San Juan Bautista Parish
   Saint John Neumann Parish                             Saint Catherine of Siena Parish

York Deanery, including the following parishes:
   Saint Joseph Parish                                   Immaculate Conception of the Blessed Virgin
   Holy Infant Parish                                     Mary Parish
   Saint John the Baptist Parish                         Saint Joseph Parish
   Sacred Heart of Jesus Parish                          Saint Patrick Parish
                                                          Saint Rose of Lima Parish

Schools
   Holy Family Consolidated School                       Saint Joseph School (Northern Deanery)
   Saint Columbia School                                 Our Mother of Perpetual Help School
   Good Shepherd School                                  Saint Francis Xavier School
   Trinity High School                                   Saint Joseph School (Adams Deanery)
   Saint Patrick School (Cumberland/Perry                Saint Teresa of Calcutta School (Adams Deanery
    Deanery)                                               - Conewago Campus)
   Corpus Christi School                                 Bishop McDevitt High School
   Our Lady of Lourdes Regional School                   Harrisburg Catholic Elementary School
   Our Lady of the Angels School                         Holy Name of Jesus School
   Saint Joseph School (York Deanery -                   Saint Catherine Labouré School
    Dallastown)                                           Saint Margaret Mary Alacoque School
   Saint Cyril Pre-School and Kindergarten               Saint Joan of Arc School
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Kerwin & Kerwin, LLP
Terrence J. Kerwin
Keegan Linscott & Associates, PC
Christopher G. Linscott
Conan Bardwell
Epiq Corporate Restructuring, LLC

Officers, Managers, and Senior Management

Roman Catholic Diocese of Harrisburg
Most Reverend Ronald W. Gainer, D.D., J.C.L. (Bishop of Harrisburg)
Very Reverend David L. Danneker, Ph.D. (Vicar General and Moderator of the Curia)
Mr. Don Kaercher (Chief Financial Officer)

College of Consultors
Reverend Joshua R. Brommer                                 Reverend Charles L. Persing
Very Reverend William C. Forrey, V.F.                      Reverend Thomas J. Rozman
Reverend Monsignor William J. King                         Reverend Alfred P. Sceski
Reverend Monsignor Robert E. Lawrence                      Very Reverend Neil S. Sullivan, V.F.
Reverend Daniel C. Mitzel

Diocesan Finance Council
Mr. Mark B. Glessner
Dr. James Forjan
Ms. Lora A. Kulick, Esq.
Mr. Donald H. Nikolaus, Esq.
Very Reverend Edward J. Quinlan
Mrs. Lisa Rohrer
Mr. Kenneth R. Shutts

Presbyteral Council
Reverend Joshua R. Brommer                                 Reverend Daniel C. Mitzel
Reverend Philip G. Burger                                  Reverend Brian T. Olkowski
Very Reverend Paul M. Clark, JCL                           Reverend Charles L. Persing
Very Reverend Steven W. Fauser, V.F.                       Reverend Dnaiel K. Richards
Very Reverend William C. Forrey, V.F.                      Reverend Monsignor William M. Richardson
Reverend Robert M. Gillelan                                Very Reverend Luis R. Rodriguez, V.F.
Reverend Leo M. Goodman                                    Reverend Thomas J. Rozman
Reverend Monsignor William J. King                         Reverend Alfred P. Sceski
Reverend Martin Kobos, OFM Conv.                           Mark M. Speitel
Reverend Monsignor Robert E. Lawrence                      Very Reverend Neil S. Sullivan, V.F.
Reverend Monsignor James M. Lyons, V.F.                    Reverend John A. Szada
Reverend Timothy D. Marcoe                                 Reverend Francis J. Tamburro
Reverend John McCloskey, OFM Cap.                          Reverend Pang S. Tcheou
Reverend J. Michael McFadden                               Reverend Allan F. Wolfe

Cash Management Banks
PNC Bank
First National Bank
M&T Bank



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Landlords
Roman Catholic Diocese of Harrisburg Real Estate Trust (listed under Debtor & Related Entities/Trusts)

Utility Providers
Bloomsburg Municipal Authority
Borough of Lewisburg Refuse Department
Capital Region Water
Citizens Electric Co.
City of Lancaster, PA
City Treasurer of Harrisburg, PA
Cocolamus Creek Disposal Service
Direct Entergy Business
Evans Disposal
Filson Water LLC
LAJSA
Lebanon Farms Disposal
Lower Paxton Township
Met-Ed - First Energy Corp.
Millersville Borough
Mostik Brothers Disposal
North Lebanon Township
Penn Waste Inc.
Pennsylvania American Water
PPL Electric Utilities Corp.
Republic Services
Suez Water Pennsylvania
Superior Plus Energy Services
Swatara Township Authority
Talley Petroleum
Town of Bloomsburg, PA
Tulpehocken Mountain Spring Water
UGI
Upper Allen Township
Walters Services Inc.
Waste Industries
Waste Management of Pennsylvania, Inc.

Insurers and Brokers
The Graham Company
Catholic Mutual Relief Society of America
Travelers Boiler (through Catholic Mutual)
New York Marine & General Insurance Co.
The National Catholic Risk Retention Group
Federal Insurance Company (Chubb)
Starr Indemnity & Liability Insurance Company
NAS Insurance (through Catholic Mutual)
Associated Industries Insurance Company (Amtrust)
QBE Insurance Corporation
Safety National (workers’ compensation surety bond)



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Sarah R. Schalman-Bergen (class action counsel)
Jeff Osterwise (class action counsel)
Patrick Madden (class action counsel)
Richard M. Serbin (class action counsel)
Benjamin D. Andreozzi (class action counsel)
Nathaniel L. Foote (class action counsel)

Known Survivors of Sexual Abuse
A sealed copy of the list of all the victims of sexual abuse known to the Diocese has been made available to the
United States Trustee and will be made available to the Court and any statutorily appointed committee upon request.

United States Bankruptcy Judges and Staff, Middle District of Pennsylvania
Hon. Henry W. Van Eck
Hon Robert N. Opel II

Office of the United States Trustee, Middle District of Pennsylvania
Frederic Baker, Acting Assistant U.S. Trustee
Wendy Paul, Paralegal Specialist
Rebecca Plesic, Paralegal Specialist
D. Troy Sellars, Trial Attorney
Gregory B. Schiller, Trial Attorney




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                                       Exhibit C

                   Declaration of the Very Reverend David L. Danneker




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                             UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                  HARRISBURG DIVISION

In re:                                                    Chapter 11

ROMAN CATHOLIC DIOCESE OF                                 Case No. 1:20-bk-00599 (HWV)
HARRISBURG,

                          Debtor.1


             DECLARATION OF VERY REVEREND DAVID L. DANNEKER
               IN SUPPORT OF DEBTOR’S APPLICATION FOR ENTRY
         OF AN ORDER APPROVING THE EMPLOYMENT AND RETENTION OF
             KLEINBARD, LLP AS SPECIAL COUNSEL FOR THE DEBTOR
         AND DEBTOR IN POSSESSION EFFECTIVE AS OF THE PETITION DATE

Pursuant to 28 USC § 1746, I, David L. Danneker, Ph.D., hereby declare and state as follows:

         1.        I am the Vicar General and Moderator of the Curia of the Roman Catholic

Diocese of Harrisburg (the “Debtor”), the debtor and debtor in possession in this chapter 11 case

(the “Chapter 11 Case”). I have served in my current capacity since June 20, 2016.

         2.        In such capacity, I am familiar with the matters set forth herein and make this

declaration (this “Declaration”) in support of the Debtor’s application (the “Application”)2

seeking approval to retain and employ Kleinbard, LLP (“Kleinbard”), effective as of the Petition

Date, as general bankruptcy and restructuring counsel to the Debtor.

         3.        I submit this Declaration in support of the Application, pursuant to the Guidelines

for Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11

U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective as of November 1, 2013 (the

“U.S. Trustee Fee Guidelines”). Except as otherwise indicated herein, all facts set forth in this

Declaration are based on my personal knowledge or my discussions with other members of the

1
  The last four digits of the Debtor’s federal tax identification number are: 4791. The Debtor’s principal place of
business is located at 4800 Union Deposit Road, Harrisburg, Pennsylvania 17111.
2
  Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Application.


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Debtor’s management team and the Debtor’s advisors. If called upon to testify, I could and

would testify competently to the facts set forth herein.

       4.      I am informed by counsel that the U.S. Trustee Fee Guidelines request that any

application for employment of an attorney under 11 U.S.C. §§ 327 or 1103 be accompanied by a

verified statement from the client that addresses the following:

       i.      The identity and position of the person making the verification. The person
               ordinarily should be the general counsel of the debtor or another officer
               responsible for supervising outside counsel and monitoring and controlling legal
               costs.

       ii.     The steps taken by the client to ensure that the applicant’s billing rates and
               material terms for the engagement are comparable to the applicant’s billing rates
               and terms for other non-bankruptcy engagements and to the billing rates and
               terms of other comparably skilled professionals.

       iii.    The number of firms the client interviewed.

       iv.     If the billing rates are not comparable to the applicant’s billing rates for other
               nonbankruptcy engagements and to the billing rates of other comparably skilled
               professionals, the circumstances warranting the retention of that firm.

       v.      The procedures the client has established to supervise the applicant’s fees and
               expenses and to manage costs. If the procedures for the budgeting, review and
               approval of fees and expenses differ from those the client regularly employs in
               nonbankruptcy cases to supervise outside counsel, explain how and why. In
               addition, describe any efforts to negotiate rates, including rates for routine
               matters, or in the alternative to delegate such matters to less expensive counsel.

                                       Selection of Counsel

       5.      Given Kleinbard’s expertise in representing diocesan entities within the

bankruptcy and restructuring context, Kleinbard is well qualified to represent the Debtor in this

Chapter 11 Case. The Kleinbard attorneys leading this engagement have significant experience

representing diocesan debtors in complex cases under the Bankruptcy Code. In addition,

Kleinbard has extensive experience in and expertise in virtually all other areas of the law that

may arise in the chapter 11 case.


                                                 2

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                                         Rate Structure

         6.    Kleinbard has informed the Debtor that its rates for bankruptcy representations

are comparable to the rates Kleinbard charges for non-bankruptcy representations.

         7.    Kleinbard’s rates and material terms of engagement are consistent with

comparably skilled professionals. The Debtor has approved Kleinbard’s proposed hourly rates as

set forth in the Application and the Haverstick Declaration. Kleinbard has informed the Debtor

that its hourly rates are subject to periodic adjustments to reflect economic and other conditions.

The Debtor has consented to such ordinary course rate increases.

                                        Cost Supervision

         8.    The Debtor recognizes its responsibility to closely monitor the billing practices of

its counsel to ensure that the fees and expenses remain consistent with the expectations and the

exigencies of the Chapter 11 Case. On behalf of the Debtor, I, or someone at my direction, will

review the invoices that Kleinbard regularly submits. Kleinbard’s fees and expenses will be

subject to periodic review on a monthly, interim and final basis during the course of the Chapter

11 Case by the Debtor, the Office of the U.S. Trustee for the Middle District of Pennsylvania,

and creditors and other parties in interest upon the public filing of fee applications with the

Court.

         9.    In addition, at all times, I, or someone at my direction, will assure the services

performed by Kleinbard are not duplicative of other professionals engaged by the Debtor in the

ordinary course, such as Waller, Lansden, Dortch & Davis, LLC.




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      I declare under penalty of perjury that the foregoing is true and correct on this 24th day of

February 2020.


                                            /s/ David L. Danneker
                                            Very Reverend David L. Danneker, Ph.D.
                                            Vicar General and Moderator of the Curia




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